Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 1 of 67




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00018-RMR

UNITED STATES OF AMERICA

v.

OSCAR DURON-DE LUNA,

      Defendant.

       OSCAR DURON-DE LUNA’S MOTION TO DISMISS THE INDICTMENT


      The Constitution demands that courts examine criminal statutes for evidence of

discriminatory intent and disparate impact in order to ensure equal protection under the

law. Arlington Heights v. Metro. Housing Development Corp., 429 U.S. 252 (1977). The

criminalization of reentry was motivated and perpetuated by anti-Latinx racism and has

not been uncoupled from that history.

      In 1924, nativist legislators succeeded in passing the National Origins Act, which

set national origin-based immigration quotas, reserving 96 percent of all slots for

European immigrants. However, because powerful agribusiness interests needed cheap

Latinx farm labor, nativists lost several battles to place quotas on the Latinx migrants

they referred to as “peons,” “rat men,” and “wetbacks.” Their defeat was short-lived;

Congress passed the first statute criminalizing illegal entry and reentry in the

Undesirable Aliens Act of 1929. It was the perfect compromise to reconcile the diverging

views of racists in America. For the nativists, enactment of the illegal reentry statute

closed the loophole left by the National Origins Act – the failure to impose a quota on

immigrants from the Western Hemisphere and prevent “mongrels” from reducing the



                                        1 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 2 of 67




white majority and sullying the gene pool. From the equally racist perspective of

agribusiness, “subservient” “morally inferior” Latinx workers could now enter the country

to be exploited for their cheap labor, and then deported at the end of harvest season so

they could not seek the rights associated with residency, impact the racial makeup of

America, or “interbreed” with whites. Not only did this racism motivate the original

version of 8 U.S.C. § 1326,1 but it has carried forward uninterrupted and unexamined,

and the law has disparately impacted Mexicans and other Latinx individuals in the

ninety years since. That alone is sufficient for the Court to conclude that the statute

violates the Constitution’s guarantee of equal protection.

         In 1952, Congress consolidated the country’s immigration laws under the

McCarran-Walter Act, which perpetuated the national origins quota system, including

the exception for the Western Hemisphere. Once more without a quota to limit

immigration from Latin America, Congress defaulted to the illegal reentry statute (now

renumbered as § 1326) to achieve its explicitly stated goal of preserving America’s

white majority. The same Congress also worked to shield employers from repercussions

for employing undocumented immigrants, further perpetuating the discriminatory intent

inherent in the 1929 agreement between nativists and agribusiness. The illegal reentry

statute was recodified “almost word for word” with little discussion and without evidence

of legislative intent to reenact on alternative, legitimate grounds. In fact, the historical

context and legislative history demonstrate the opposite: that the same racial animus

and discriminatory intent that motivated the 1929 law was also a motivating factor in the

1952 recodification.



1
    Exhibit “T” (United States Attorneys’ Bulletin, dated July 2017) at 1.


                                            2 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 3 of 67




      Congress has since amended § 1326 five more times - once in the 1980s, and

four times in the 1990s - always to increase its retributive and deterrent effects. These

amendments resulted from the convergence of a rise in nativist sentiment, scapegoating

of Latinx immigrants as criminals in the War on Drugs, and the outsized influence of a

eugenicist-founded anti-immigrant lobbying group – the Federation for American

Immigration Reform (“FAIR”) – on Congress. Because anti-immigrant and War on Drugs

legislation were both wildly popular with constituents, Congress members from both

parties were either themselves caught up in the tenor of the day or submitted to the

discriminatory will of the electorate to ensure reelection. None of these reenactments

involved the type of intervening event, like a substantial change to the statute or a

discussion of an alternative, legitimate purpose, that could break the chain of

discriminatory causation.

      Mr. Duron-De Luna will show that the 1929 provision criminalizing reentry was

more likely than not motivated, at least in part, by racial animus, and the burden then

shifts to the government to show that the statute would have been enacted in the

absence of a discriminatory purpose. Because the government cannot meet that

burden, the indictment must be dismissed.

      This Court would not be the first to hold that § 1326 violates equal protection

under Arlington Heights. Last summer in the District of Nevada, the Honorable

Miranda M. Du held an evidentiary hearing on § 1326’s constitutionality. After reviewing

extensive evidence and hearing expert testimony from both Professor Kelly Lytle

Hernandez and Professor Benjamin Gonzalez O’Brien, Judge Du issued a thorough and

well-reasoned order detailing the unlawful reentry statute’s repugnant history. Judge Du




                                         3 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 4 of 67




held not only that § 1326 disparately impacts Latinx people, but also that Congress was

motivated by racial animus when it enacted the original unlawful reentry statute in 1929,

as well as when it recodified the statute in 1952. Because the government could offer no

evidence that Congress would have enacted the unlawful reentry statute but for its

discriminatory purpose, Judge Du ruled that “Section 1326 violates the Equal Protection

Clause of the Fifth Amendment” and dismissed the indictment. See U.S. v. Carrillo-

Lopez, 555 F. Supp. 3d 996 (D. Nev. 2021), gov’t notice of appeal filed August 19,

2021.

        While this Court could decide this motion on the papers if it believes Mr. Duron-

De Luna has not shown a discriminatory purpose and a disparate impact, this Court

should hold an evidentiary hearing. Courts frequently hold evidentiary hearings and

trials to hear evidence on the Arlington Heights factors. See e.g., Hunter v. Underwood,

471 U.S. 222, 229 (1985) (relying on evidence at trial of state legislative proceedings,

“several historical studies, and the testimony of two expert historians”). Indeed, the

Supreme Court has found error where a lower court granted summary judgment

“without an evidentiary hearing” on a legislature’s disputed motives under Arlington

Heights. Hunter, 526 U.S. at 545. If this Court orders an evidentiary hearing, the

defense would call expert historians Kelly Lytle Hernandez, Benjamin Gonzales O’Brien,

and S. Deborah Kang, whose declarations are attached as Exhibits A, B and C,

respectively. The testimony of Professor Hernandez and Professor Gonzales O’Brien in

the Carrillo-Lopez evidentiary hearing are attached as Exhibit D.




                                         4 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 5 of 67




I.      LEGAL STANDARD

       The Fifth Amendment provides that no person shall be “deprived of life, liberty, or

property, without due process of law.” U.S. Const. amend. V. “The liberty protected by

the Fifth Amendment’s Due Process Clause contains within it the prohibition against

denying to any person the equal protection of the laws.” United States v. Windsor, 570

U.S. 744, 774 (2013). These protections extend to those charged with violating § 1326.

Plyler v. Doe, 457 U.S. 202, 210 (1982) (“[W]e have clearly held that the Fifth

Amendment protects aliens whose presence in this country is unlawful from invidious

discrimination by the Federal Government.”); Mathews v. Diaz, 426 U.S. 67, 77 (1976)

(“There are literally millions of aliens within the jurisdiction of the United States. The

Fifth Amendment, as well as the Fourteenth Amendment, protects every one of these

persons from deprivation of life, liberty, or property without due process of law. Even

one whose presence in this country is unlawful, involuntary, or transitory is entitled to

that constitutional protection.”).

       A facially-neutral law violates the Fifth Amendment’s equal protection guarantee

if it has a racially disparate impact and the legislature was motivated to enact the statute

at least in part for a discriminatory purpose. See Arlington Heights, 429 U.S. at 265–68.

Disparate impact is established where the law’s impact “‘bears more heavily on one

race than another.’” Id. at 266 (quoting Washington v. Davis, 426 U.S. 229, 242 (1976)).

       To establish that a statute violates equal protection on the basis of racial

discrimination, the challenger of the statute must prove by a preponderance of the

evidence that racial discrimination was a substantial or motivating factor in the adoption

of the statute. Hunter, 471 U.S. at 225 (citing Arlington Heights and Mt. Healthy City




                                          5 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 6 of 67




School Dist. Bd. Of Educ. v. Doyle, 429 U.S. 274, 286 (1977)). However, because

legislatures are rarely “motivated solely by a single concern,” a challenger need not

show the legislature’s actions “rested solely on racially discriminatory purposes.”

Arlington Heights, 429 U.S. at 265–66. Once the challenger has met its burden to show

discriminatory intent and a disparate impact, the burden then shifts to the government to

establish that the same decision would have resulted, had the impermissible purpose

not been considered. Hunter, 471 U.S. at 225; see also Arlington Heights, 429 U.S. at

270 n.21.

       Although courts normally refrain from reviewing the merits of decisions by

legislators and administrators, this judicial deference is no longer justified “[w]hen there

is a proof that a discriminatory purpose has been a motivating factor in the decision.”

Arlington Heights, 429 U.S. at 265-66 (quoted in Ramos v. Wolf, 975 F.3d 872, 896

(9th Cir. 2020)). Such judicial deference should also be unwarranted when “a law

originally enacted with discriminatory intent is later reenacted by a different legislature,”

or where the legislature “use[d] criteria that arguably carried forward the effects of any

discriminatory intent on the part of” the prior legislature. Compare Abbott v. Perez, 138

S. Ct. 2305, 2315, 2326 (2018) (finding that “presumption of legislative good faith”

applied to state legislature’s redistricting plans under Voting Rights Act in part because

the challenged redistricting plan was generated entirely anew after a prior plan was

“immediately tied up in litigation and never used” on grounds that it was motivated by

discriminatory intent).

       The first stage of this burden-shifting process involves what is essentially a

totality-of-the circumstances approach. In determining “the motivation behind official




                                          6 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 7 of 67




action,” Hunter, 471 U.S. at 225, the Court may consider “such direct and circumstantial

evidence as may be available.” Arlington Heights, 429 U.S. at 265; see also

Mt. Healthy, 429 U.S. at 286-87. The threshold for meeting this initial burden is low,

requiring only that it is more likely than not that racism was a motivating factor. Hunter,

471 U.S. at 225.

      In conducting this undertaking, the Court may receive expert testimony and

opinions from historians, consider records of legislative proceedings, and consider

historical studies. Id. at 228-29. The Court may also consider direct and circumstantial

evidence drawn from a range of overlapping sources, including, but not limited to,

information regarding the general “historical background” at the time of the law’s

enactment, information regarding the “specific sequence of events leading to its

enactment,” and information regarding the “legislative or administrative history,”

including possible “[d]epartures from normal procedural sequence” or “substantive

departures.” Arlington Heights, 429 U.S. at 265-68. Determining whether a

decisionmaker departs from “normal procedures or substantive conclusions” requires

courts to consider any “procedural irregularities” leading up to the enactment of a law

that could signal a discriminatory intent. Pac. Shores Properties v. City of Newport

Beach, 730 F.3d 1142, 1164 (9th Cir. 2013). Courts may also consider illogical or

counterintuitive conclusions in the decision-making process. See, e.g., Ave. 6E

Investments v. City of Yuma, 818 F.3d 493, 507 (9th Cir. 2016) (citing city’s decision to

“disregard the zoning advice of its own experts”). Additionally, the Court may consider

the impact of the official action, and whether it bears more heavily on one race than

another. Arlington Heights at 265–68.




                                         7 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 8 of 67




      As in any totality-of-the-circumstances analysis involving both direct and

circumstantial evidence, no specific type of evidence is required, and no specific

consideration is determinative. See, e.g., Hunter, 471 U.S. at 229-30 (relying on

proceedings of legislative convention, historical studies, and testimony of two expert

historians); Mt. Healthy, 428 U.S. at 281-87 (remanding for consideration of totality of

employee’s conduct in First Amendment wrongful termination case).

      If the challenger demonstrates that racial discrimination was a motivating factor,

the burden then shifts to the government to establish by a preponderance of the

evidence that the same decision would have resulted had the impermissible purpose

not been considered. Hunter, 471 U.S. at 225; see also Arlington Heights, 429 U.S. at

270 n. 21. This causation approach is “a test of causation which distinguishes between

a result caused by a constitutional violation and one not so caused.” Mt. Healthy, 429

U.S. at 286.2 If the government cannot carry its burden, the challenged law violates the

Fifth Amendment and must be invalidated. Arlington Heights, 429 U.S. at 270 n.21.

II.    ARGUMENT

      8 U.S.C. § 1326 was enacted in part due to racial animus and must be struck

down under the Equal Protection Clause of the Fifth Amendment, unless the

government shows that the statute would have been enacted absent the discriminatory

motive. Arlington Heights, 429 U.S. at 270 & n.21; Hunter, 471 U.S. at 229, 232-33.

Here, the evidence shows, and courts have found, that it is more likely than not that the



2
  In Mt. Healthy, which was decided on the same day as Arlington Heights, the Court
found support for this causation approach in its own “tainted fruit” analysis regarding the
admissibility of statements, including Wong Sun v. United States, 371 U.S. 471 (1983).
Mt. Healthy, 429 U.S. at 286-87 (citing Arlington Heights and applying burden-shifting
approach to First Amendment challenge alleging wrongful termination).


                                         8 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 9 of 67




first version of § 1326, which was enacted in 1929, was motivated at least in part by

racial animus. See, e.g., Carrillo-Lopez, 555 F. Supp. 3d at 1010; United States v.

Machic-Xiap, 552 F. Supp. 3d 1055, 1062 (D. Or. 2021).

       The government cannot meet its burden under Arlington Heights by pointing to

later iterations of the illegal reentry statute. First, the record demonstrates that in 1952

and onward, Congress reenacted “a law originally enacted with discriminatory intent.”

See Abbott, 138 S. Ct. at 2326. Accordingly, because the first iteration of § 1326 in the

Undesirable Aliens Act of 1929 was enacted in part due to racial animus, and because

later reenactments did not rest on alternative, legitimate grounds, the government

cannot point to these later iterations to meet its burden or obligate Mr. Duron-De Luna

to start his argument afresh. Hunter, 471 U.S. at 229, 232-33 (rejecting government’s

reliance on subsequent judicial narrowing of racially motivated disenfranchisement law,

which did not indicate legislative intent to legitimate law); Ramos v. Louisiana, 140 S.

Ct. 1390, 1401 n.44 (2020) (noting that where constitutionality of state’s jury nonunamity

rule depended in part on functional assessment of rule’s benefits, court was required to

examine racially discriminatory reasons for adoption of rule, and later reenactments

following prior Supreme Court decision did not reflect legislative intent to act on

alternative, legitimate grounds).

       Second, when Congress modified and amended the illegal reentry statute in

1929 and 1952, Congress “use[d] criteria that arguably carried forward the effects of

any discriminatory intent on the part of” the prior legislature. See Abbott, 138 S.Ct. at

2326. Because nativists in 1929 could not get agribusiness support to impose a quota to

exclude Latinx migrants, they agreed on a criminal statute substitute so Latinx migrants




                                          9 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 10 of 67




 could enter the United States to work and be removed after. The recodification in 1952

 results in Congress defaulting to the same solution: because agribusiness interests will

 not agree to include Latinx migrants in the reenacted national origins quota, the illegal

 reentry statute is expanded to include those “found in” the United States, satisfying

 nativists and agribusiness alike. On that basis as well, the government cannot point to

 these iterations to meet its burden.

        Third, even if the Court finds that a later recodification in 1952 or the five

 amendments in the 1980s and 1990s somehow broke the chain of discriminatory

 causation arising from the animus that led to the 1929 act, the record also conclusively

 demonstrates that the recodification and five amendments were each infected by

 discriminatory intent when independently analyzed. Arlington Heights, 429 U.S. at 270 &

 n.21; Hunter, 471 U.S. at 229, 232-33.

      A. Section 1326 Disparately Impacts Latinxs.

        Arlington Heights requires challengers to show that a law was enacted with a

 discriminatory purpose and disparately impacts a particular group. See Arlington

 Heights, 429 U.S. at 265-266. Disparate impact is established where the law’s impact

 “‘bears more heavily on one race than another.’” Id. at 266 (quoting Davis, 426 U.S. at

 242). Here, § 1326 meets Arlington Heights’ test because it disparately impacts one

 race, Latinxs. “Latin-Mexican nationals” comprised between 85 and 99 percent of

 defendants in unlawful reentry prosecutions under the Undesirable Aliens Act of 1929,

 and “the disparate impact upon Mexicans and Latinos has not shifted” in the intervening

 decades, including after Congress enacted § 1326. See Machic-Xiap, 552 F. Supp. 3d




                                          10 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 11 of 67




 1055 at 1072. In the fifteen years post-Booker,3 99.45 percent of defendants charged

 with at least one count of § 1326 were from Latin America, and 96.64 percent were

 Hispanic.4 The impact remains as disparate as ever: over 99.11 percent of those

 convicted of illegal reentry in 2020 were considered Hispanic.5 To make a showing of

 disparate impact, Mr. Duron-De Luna only needs to show that § 1326 “bears more

 heavily” on Latinxs, and the charging disparity is sufficient to do so, even without further

 comparison.

        Nevertheless, geography does not blunt the impact. Whether the illegal reentry

 case was prosecuted in judicial districts at the Northern Border (94.9 percent Latin

 American) or the Southern Border (99.75 percent Latin American), Latinx defendants

 were disparately impacted. Id. at Tables 2, 3.

        Nor does proportionality. According to Department of Homeland Security data,

 Mexicans, Hondurans, Salvadorans, Guatemalans, Colombians, Brazilians, and

 Venezuelans made up 66.9 percent of the unauthorized population in 2018, but they

 made up 97.67 percent of § 1326 prosecutions. Id. at Tables 5, 6. Conversely, Indians,

 Chinese and Filipinos made up 11.59 percent of the authorized immigrant population,

 but only .03 percent of § 1326 defendants. Id. That disparity is borne out across the

 dataset.

        These disparities are comparable to disparities that have supported other

 successful Arlington Heights challenges. See, e.g., Ave. 6E Investments, LLC, 818 F.3d



 3
   United States v. Booker, 543 U.S. 220 (2005).
 4
   See Exhibit “S,” Declaration of Lisa Tarasyuk at Table 1.
 5
   U.S. Sentencing Commission, Quick Facts, Illegal Reentry Offenses (May 2021),
 available           at           https://www.ussc.gov/sites/default/files/pdf/research-and-
 publications/quickfacts/ Illegal_Reentry_FY20.pdf.


                                          11 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 12 of 67




 at 497 (concentrating most low-income housing in neighborhoods that are 75 percent

 Hispanic); Arce v. Douglas, 793 F.3d 968, 978 (9th Cir. 2015) (targeting a program,

 90 percent of whose enrollees were of Mexican or other Hispanic origin); The

 Committee Concerning Community Improvement v. City of Modesto, 583 F.3d 690, 704

 (9th Cir. 2009) (excluding 71 percent Latino areas from benefits, while extending those

 benefits to other areas that were only 48 percent Latino). Moreover, in prior equal

 protection challenges to § 1326, the government has not disputed that the statute bears

 more heavily on Latinxs—and courts have found the statute disparately impacts Latinxs.

 See Carrillo-Lopez, 555 F. Supp. 3d at 1006; Machic-Xiap, 552 F. Supp. 3d 1055 at

 1073.

      B. The 1929 Congress Acted With A Discriminatory Purpose When It
         Criminalized Reentry Under The Undesirable Aliens Act.

         The reentry law which is codified today at § 1326 was originally enacted in 1929

 as part of the Undesirable Aliens Act. Courts have held that racial animus was—at a

 minimum—a motivating factor in passing the Undesirable Aliens Act and its

 criminalization of reentry. See Carrillo-Lopez, 555 F. Supp. 3d at 1009 (“the Act of 1929

 was passed during a time when nativism and eugenics were widely accepted, both in

 the country at large and by Congress, and … these racist theories ultimately fueled the

 Act’s passage”); Machic-Xiap, 552 F. Supp. 3d 1055 at 1061 (“racism has permeated

 the official congressional debate over United States immigration laws since the late 19th

 and early 20th centuries, including the 1929 Act”). Even the government has “conceded

 that discriminatory intent motivated the passage of the Act of 1929.” Carrillo-Lopez, 555

 F. Supp. 3d at 1007. The evidence of racial animus is so overwhelming that it is easy to

 see why.


                                         12 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 13 of 67




        Discerning the intent of a heterogenous Congress can be a tricky thing, but it is

 not always so. Hunter, 471 U.S. at 228. The Supreme Court’s decision in Hunter has

 many parallels to the litigation before this Court, all of which support the conclusion that

 § 1326 violates equal protection. In Hunter, the Supreme Court affirmed the court of

 appeals’ reliance on Arlington Heights and Mt. Healthy to hold that a provision of the

 Alabama Constitution which disenfranchised persons convicted of crimes involving

 moral turpitude violated the Equal Protection Clause. The Supreme Court found that

 although the provision was racially neutral on its face, its original enactment was

 motivated by a desire to discriminate against blacks on account of race, and it had a

 racially discriminatory impact from its adoption forward. Hunter, 471 U.S. at 233.

        There, as here, the record included the testimony and opinions of historians,

 several historical studies, and records of legislative proceedings. Id. at 228-29 (noting

 that although there were no “eyewitnesses” to the 1901 proceedings, the district court

 received testimony and opinions of historians). In light of this record, while “[p]roving the

 motivation behind official action” may often be a “problematic undertaking,” the

 Supreme Court in Hunter stated that such difficulties “do not obtain in this case.” Hunter,

 471 U.S. at 229. The Court concluded that the challenged statute “was enacted with the

 intent of disenfranchising blacks.” Id. at 229.

        In concluding that the law violated equal protection, the Hunter Court rejected the

 government’s argument that the challenged provision had been motivated by both

 permissible and impermissible motives. Id. at 232. The Court also rejected the

 government’s argument that subsequent judicial modifications to the statute over the

 preceding 80 years “had legitimated the provision,” stating, “[w]ithout deciding whether




                                           13 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 14 of 67




 § 182 would be valid if enacted today without any impermissible motivation, we simply

 observe that its original enactment was motivated by a desire to discriminate against

 blacks on account of race and the section continues to this day to have that effect. As

 such, it violates equal protection under Arlington Heights.” Id. at 232-33.

        As in Hunter, while it may be difficult in some cases to discern the motives of

 legislators, it is not difficult here, where the challenged action took place during a

 movement toward tribalism and eugenics, and where the key Congressmen were in no

 way secretive about their purpose that the entry and reentry provisions of the

 Undesirable Aliens Act of 1929 close a loophole in the 1924 National Origins Act that

 failed to set quotas to broadly exclude Latinx immigrants. The illegal reentry provision

 was a compromise brokered between nativist racists who wanted to keep Mexican

 people out of the country entirely, and agribusiness racists, looking to exploit the cheap

 labor of “docile” and “inferior” Mexicans and then have them deported at the end of the

 harvest season so they could not intermix with whites or seek the benefits of permanent

 domicile.6 Both groups demonstrated their antipathy for Latinx immigrants through racial

 slurs and negative stereotypes. Legislators referred to Mexicans as “mongrels” and

 “peons”7 yet threw no such slurs at Canadians, who were also entering the country in

 record numbers at the time.8 They claimed Mexicans were “poisoning the American




 6
   See Exhibit C, Declaration of Dr. S. Deborah Kang (hereinafter Kang Decl.) 2-4.
 7
   Mae M. Ngai, Impossible Subjects, 23 (2004 William Chafe, et al.); Exhibit M,
 Representative Box (TX). “Deportation of Aliens.” Congressional Record, (Feb. 16,
 1929) p. H3619. See Deportation, Hearings Before the Committee on Immigration and
 Naturalization, House of Representatives, 69th Cong., Hearing 69.1.3 (1926) at 30;
 Exhibit G (Congressional Record, Feb. 16, 1929) at H3620.
 8
   Exhibit G (Congressional Record, Feb. 16, 1929) at H3621 (stating that 81,506
 Canadians entered the U.S. in 1928).


                                          14 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 15 of 67




 citizen.”9 They sought to keep the country’s blood “white and purely Caucasian.”10 They

 solicited reports and testimony from a eugenicist who likened immigration policy to the

 “breed[ing] of thoroughbred horses.”11 The totality of the circumstances demonstrate

 that, more likely than not, racial animus was a, if not the, motivating factor in the

 criminalization of reentry.

        1. Historical Background.12 The larger historical context (“the law’s historical

 background”) of growing nativism and mainstream support for the eugenics movement

 at the time the Undesirable Aliens Act was passed supports the conclusion that it was

 motivated by racial animus. Historians refer to the 1920s in the United States as the

 “Tribal Twenties.” Following World War I, there was “a feverish sentiment against

 presumably disloyal ‘hyphenated Americans.’”13 Nativism and racial animus intensified,

 and the decade saw the rebirth of the Ku Klux Klan, the coming of age of Jim Crow, and

 the growing acceptance of eugenics.14 The Saturday Evening Post ran articles warning

 that new immigrants were racially inferior, impossible to assimilate, and a threat to



 9
    Exhibit M, Representative FitzGerald, “Deportation of Aliens.” Congressional Record
 (Feb. 6, 1929) p. H3620.
 10
     Exhibit H, Representative Lankford. “Across the Borders.” Congressional Record
 (Feb. 3, 1928) p. H2462.
 11
    Exhibit F, The Eugenical Aspects of Deportation: Hearings before the Committee on
 Immigration and Naturalization House of Representative, 70th Cong. 70.1.4, p.44
 (1928).
 12
    The Court need not analyze discriminatory intent using non-exhaustive considerations
 set forth in Arlington Heights when the totality of the circumstances so clearly reflects
 racial animus. Nevertheless, the considerations provide a helpful framework for
 organizing the wide range of relevant information, both broad and specific: from broad
 historical movements and moments (“historical background”), to the history of the
 challenged provision and containing legislation (“specific sequence of events leading to
 its enactment”), to the legislative history, including specific instances of procedural
 irregularity or illogical conclusions (“[d]epartures from normal procedural sequence or…
 substantive departures”) adopted to advance a discriminatory end.
 13
    Mae M. Ngai, Impossible Subjects, 19–20 (2004 William Chafe, et al.).


                                         15 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 16 of 67




 stability and democracy.15 The leader of a major scientific institution contended that

 neither education nor environment could alter the “‘profound and inborn racial

 differences’ that rendered certain people inferior.”16 Congress was not immune to the

 intellectual trends of the day.

        2. The Specific Sequence of Events Leading Up To The Challenged Action.

 The history of the Undesirable Aliens Act of 1929 in general and the reentry provision

 specifically (“the specific sequence of events leading up to the challenged decision”)

 provide further evidence of Congress’s discriminatory motive. Fears of “non-white”

 immigration spurred the introduction of numerous bills before the Undesirable Aliens Act

 of 1929,17 as nativist politicians aimed to “restrict and even end immigration to the

 United States from every region of the world other than western Europe.”18 Congress

 began the decade by passing the first numerical restriction on immigration,19 and for the

 rest of the decade legislators aimed for “America [to] cease to be the ‘melting pot.’”20

 Prominent proponents of immigration restrictions “spoke increasingly of ‘racial

 indigestion’” and “the ‘contamination’ of Anglo-American society.’”21 Dr. Harry Laughlin,

 a leading eugenicist well-known for his model sterilization law (which would later serve

 as the template for Nazi Germany’s sterilization law), testified before Congress many




 14
    Exhibit A, Declaration of Professor Lytle Hernández at 2.
 15
    Jia Lynn Yang, One Might and Irresistible Tide: The Epic Struggle Over American
 Immigration, 8 (2020).
 16
    Daniel Okrent, The Guarded Gate: Bigotry, Eugenics, and the Law That Kept Two
 Generations of Jews, Italians, and Other European Immigrants Out of America, 3
 (2019).
 17
    See generally Okrent, supra.
 18
    Exhibit A, Declaration of Professor Lytle Hernández at 2.
 19
    Emergency Immigration Act of 1921, Pub. L. No. 67-5, 42 Stat. 5 (1921).
 20
    Yang, supra, at 3 (quoting Senator David A. Reed).


                                         16 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 17 of 67




 times throughout the decade.22 Relying on such racist theories, Congress would anchor

 its immigration laws in eugenics throughout the 1920s.23

        Congress began focusing legislation around the exclusion of “undesirable”

 (i.e., non-white) immigrants.24 The Wartime Measure Act of 1918 first vested authority in

 the President to restrict entry into the United States “contrary to the public safety.”25 The

 National Origins Act of 1924 then narrowed the pathways of legal immigration by

 establishing quotas based on national origin— with 96% of all quota slots reserved for

 European immigrants.26 There was, however, one loophole that infuriated nativists:

 American industry (primarily agribusinesses in the southwest) successfully lobbied for

 the National Origins Act to exempt immigrants from the Western hemisphere in order to

 ensure continued access to cheap Mexican labor.27 Nativists in Congress grumbled that

 the bill “leaves open the doors for perhaps the worst element that comes into the United

 States—the Mexican peon,”28 and proposed numerous bills aimed at ending Mexican

 immigration.29 The two major attempts came in 1926 and 1928, but “major employers




 21
    Ngai, supra, at 23; Kelly Lytle Hernández, Migra! A History of the U.S. Border Patrol,
 28 (2010).
 22
    Ngai, supra, at 24; Harry Laughlin and Eugenics, Truman State University, available
 at https://historyofeugenics.truman.edu/.
 23
    See E.P. Hutchinson, Legislative History of American Immigration Law, 1798-1965, at
 212-13 (1981).
 24
    See Ave. 6E Investments, LLC v. City of Yuma, Ariz., 818 F.3d 493, 505–06 (9th Cir.
 2016) (“the use of ‘code words’ may demonstrate discriminatory intent”).
 25
    Pub. L. No. 65-154, 40 Stat. 599 (1918).
 26
    Exhibit A, Hernández Decl. at 3.
 27
    Exhibit A, Hernández Decl. at 3; see Hans P. Vought, The Bully Pulpit, 179 (2004).
 28
    Benjamin Gonzalez O’Brien, Chap. 1, Handcuffs and Chain Link (2018).
 29
    Exhibit A, Hernández Decl. at 5.


                                           17 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 18 of 67




 and industries across the west” successfully opposed the bills due to “concern[] that

 they w[ould] be cut off from access to Mexican workers.”30

       In the face of insurmountable industry opposition, nativists in Congress sought a

 compromise with industry: rather than preventing immigration, they would criminalize it

 after the fact. This compromise was the brainchild of Secretary of Labor James Davis

 and Senator Coleman Blease of South Carolina.31 Davis was a believer in eugenics and

 warned about the “rat type” and “rat men” coming to the United States and jeopardizing

 the Anglo-American gene pool;32 Senator Blease was a devout racist and suspected

 Klan member.33 Secretary Davis was torn between his racist desire to protect the

 American gene pool and his responsibility to maintain a large labor supply for American

 industry—he reasoned this compromise would allow authorities to expel Mexicans after

 growing season, thereby avoiding industry resistance.34 He was onto something, as one

 influential farmer and lobbyist explained to Congress: “We, in California, would greatly

 prefer some set up in which our peak labor demands might be met and upon the

 completion of our harvest these laborers returned to their country.”35 To bring their plan

 to fruition, Secretary Davis and Senator Blease collaborated with two powerful members

 of the House Immigration and Naturalization Committee: Representatives Albert



 30
    Exhibit D, Testimony of Professor Lytle Hernández at 28–30.
 31
     Ian MacDougall, Behind the Criminal Immigration Law: Eugenics and White
 Supremacy,          ProPublica       (June       19,       2020),      available    at
 https://www.propublica.org/article/behind-thecriminal-immigration-law-eugenics-and-
 white-supremacy.
 32
    Vought, supra, at 174–79.
 33
    See B. Simon, The appeal of Cole Blease of South Carolina: Race, Class, and Sex in
 the New South, The Journal of Southern History, 62:1, at 57–86 (Feb. 1996), available
 at http://www.jstor.com/stable/2211206.
 34
    Vought, supra, at 216; MacDougall.
 35
    Exhibit A, Declaration of Professor Lytle Hernandez at 7.


                                         18 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 19 of 67




 Johnson of Washington and John Box of Texas. Johnson, the chairman of the

 committee, headed the Eugenics Research Association, which supported forced

 sterilizations.36 He viewed the “fundamental reason” for immigration restrictions to be

 “biological,” seeking to exclude the “Mexican race.”37 Box viewed the “Mexican peon” as

 “a mixture of Mediterranean-blooded Spanish peasant with low-grade Indians who did

 not fight to extinction but submitted and multiplied as serfs.”38 He saw Mexicans as

 “essentially different from us in character, in social position,” and viewed the goal of

 immigration law as “the protection of American racial stock from further degradation or

 change through mongrelization.”39 Other legislators warned that Mexicans “composed of

 mixtured blood of White, Indian, and negro” were “pouring into our country, oftentimes

 at the behest of the various employers of large industrial enterprises,” that “their blood”

 would be “a very great penalty upon the society which assimilates it,” and that “their

 amalgamation with our people will cause a general weakening, physically and mentally,

 of our civilization.”40

        Allies of agribusiness were also motivated by racial animus to support the

 criminalization of reentry. They espoused the view that Latinx migrants “were mentally

 and morally inferior to European immigrants,” “docile,” “complacent,” ”birds of passage,”

 and therefore the ideal “cheap, exploitable, and deportable labor force.”41




 36
    Dennis Wepman, Immigration: From the Founding of Virginia to the Closing of Ellis
 Island, at 242–43 (2002).
 37
    Okrent, supra, at 3.
 38
    Exhibit I (Congressional Record, Feb. 9, 1928) at H2817–18.
 39
    Exhibit L (Congressional Record, Feb. 16, 1929) at H3619; Exhibit F (Congressional
 Record, Feb. 9, 1928) at H2817–18.
 40
    Exhibit H (Congressional Record, Feb. 3, 1928) at H2462.
 41
    Exhibit C, Kang. Decl. at 3.


                                          19 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 20 of 67




       3. Legislative History. The legislative history of the Undesirable Aliens Act

 further supports the conclusion that racial animus was a motivating factor in its

 enactment. Albert Johnson, the chairman of the House Immigration and Naturalization

 Committee, had previously convened hearings on immigration. At one hearing, he

 admitted into the record a letter from a constituent urging legislators to keep out “the

 scoff and scum, the mongrel, the bootlegger element from Mexico.”42 At another

 hearing, the principal witness was Dr. Laughlin (the prominent eugenicist).43 Johnson

 praised Laughlin’s report as a “priceless” resource that would “bear intimately on

 immigration policy.”44 Laughlin went on to testify about “protect[ing] American blood

 from alien contamination,” and contended that “[i]mmigration control is the greatest

 instrument which the Federal Government can use in promoting race conservation of

 the Nation.”45 He compared the drafters of deportation laws to “successful breeders of

 thoroughbred horses” and advocated deportation of the “undesirable individual,”

 because otherwise “we cannot get rid of his blood no matter how inferior it may be,

 because we cannot deport his offspring born here.”46 Finally, he predicted that so long




 42
      Exhibit G (Deportation, Hearings Before the Committee on Immigration and
 Naturalization, House of Representatives, 69th Cong., Hearing 69.1.3 (1926)) at 30.
 43
    Exhibit F, The Eugenical Aspects of Deportation, Hearings before the Committee on
 Immigration and Naturalization, House of Representatives, 70th Cong., Hearing
 No. 70.1.4 (1928)) at 1.
 44
    Id. at 3.
 45
    Id. at 3, 19.
 46
     Id. at 44–45. This was not the only instance of comparing ethnicities to breeds of
 animals. Representative Patrick O’Sullivan criticized restrictions on Italian immigrants,
 stating that “the average Italian is as much superior to the average Mexican as a
 full-blooded Airedale is to a mongrel.” Exhibit E (Congressional Record, Apr. 8, 1924) at
 H5900.


                                         20 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 21 of 67




 as the border remained open to immigrants, “there will always be need for deportation,

 or the ‘final selection.’”47

        Chairman Johnson agreed that “[i]mmigration looks more and more like a

 biological problem, and if the work of this committee results in establishing this principle

 in our immigration policy we will be well repaid for our efforts.”48 He advocated for

 Congress’ use of the “principle of applied eugenics” to “do everything possible” by

 “debarring and deporting” more people.49 In this spirit of “applied eugenics,” nativists in

 Congress set to work criminalizing reentry.

        The compromise between nativists and agribusiness was formalized on

 January 18, 1929, when Senator Blease submitted a report to the full Senate

 recommending passage of a law that would penalize “aliens who have been expelled

 from the United States and who reenter the country unlawfully,” along with a letter from

 Secretary Davis advocating passage of the law.50 The Senate passed the bill.51

        Two weeks later, Chairman Johnson submitted a report from the Committee of

 Immigration and Naturalization to the full House recommending passage of the law.52

 That report noted that “the hearings in the Sixty-ninth Congress on the subject matter

 contained in the bill were exhaustive,” and “[m]uch important testimony was

 developed.”53 During the debate in the House, representatives made racist remarks,

 including that Mexicans were a “very undesirable” class that was “poisoning the



 47
    Id. at 44.
 48
    Id. at 46.
 49
    Id. at 25.
 50
    Exhibit J (S. Rep. No. 1456, Jan. 17, 1929) at 1–2.
 51
    Exhibit L at S2092.
 52
    Exhibit L, H. Rep. No. 2397, Feb. 6, 1929.
 53
    Exhibit L, S. Rep. No. 2397 (1929)) at 2.


                                          21 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 22 of 67




 American citizen.”54 The bill passed the House, and the President signed it into law

 three days later.55

        Here, the numerous overtly racist statements from legislators demonstrate that

 Congress departed from normal procedures and substantive conclusions. Arlington

 Heights, 429 U.S. at 265-68. Certainly, if the purpose of the Act was to strengthen the

 country’s borders, guard national security, or control the rate and flow of immigrants, it

 is counter-intuitive that the racial vitriol expressed during the debates was directed

 almost exclusively at one racial group, Mexicans, even though Canadians were also

 entering the United States in record numbers.56 In fact, groups like the Immigration

 Restriction League had noted that because Canadians were of similar racial stock, no

 quotas were necessary.57 Certainly, no legislator referred to Canadians as “mongrels” or

 complained that Canadians were “poisoning the American citizen.”58 “The omission of

 any real discussion of illegal entry from Canada from debate on the Undesirable Aliens

 Act made the racial animus behind the law clear.”59

        The greater historical context, the specific sequence of events leading to the

 reentry provision and the Undesirable Alien Act as a whole, the legislative history,

 including the numerous departures from rational conclusions, demonstrate that racial

 animus was a motivating factor in the passage of the Undesirable Alien Act and its



 54
    Exhibit M, Congressional Record, Feb. 16, 1929 at H3620.
 55
    Exhibit N, Pub. L. No. 1018, Mar. 4, 1929.
 56
    Exhibit M, Congressional Record, Feb. 16, 1929 at H3621 (stating that 81,506
 Canadians entered the U.S. in 1928).
 57
    Exhibit B, Declaration of Benjamin Gonzales O’Brien 12.
 58
    See Exhibit I, Deportation, Hearings Before the Committee on Immigration and
 Naturalization, House of Representatives, 69th Cong., Hearing 69.1.3 (1926)) at 30;
 Exhibit G, Congressional Record, Feb. 16, 1929, at H3620.
 59
    Exhibit B, Gonzales O’Brien Decl. at 12.


                                         22 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 23 of 67




 reentry provision. As Professor Lytle Hernández testified, “the illegal reentry provision of

 the 1929 law was intended to target Latinos.”60 For this reason, Judge Du found that

 “racial animus was a strong motivating factor in the passage of the Act of 1929.”

 Carrillo-Lopez, 555 F. Supp. 3d at 1009; see also Machic-Xiap, 552 F. Supp. 3d 1055 at

 1074 (characterizing the Undesirable Aliens Act as “serv[ing] two racist purposes”—it

 “furthered nativists’ desire to separate certain immigrants from the general population by

 attaching criminal penalties like imprisonment” while at the same time giving

 “southwestern agribusiness greater ability to exploit these immigrants” by allowing

 farmers to use “the threat of deportation as leverage over this immigrant labor”). In

 short, Congress was motivated by racial animus when it enacted the Undesirable Alien

 Act and criminalized reentry, and the burden now shifts to the government to show that

 the law would still have been enacted absent Congress’ discriminatory purposes.

        C. Although The Reentry Statute Was Recodified In The McCarran-Walter
           Act Of 1952, The Recodification Did Not Break The Chain Of
           Discriminatory Causation.

          When Congress consolidated the country’s immigration laws in the McCarran-

 Walter Act of 1952, it renumbered the Undesirable Alien Act’s criminalization of reentry

 to 8 U.S.C. § 1326. The 1952 Congress adopted the language from the Undesirable

 Alien Act “almost word for word,” Carrillo-Lopez, 555 F. Supp. 3d at 1007, while other

 portions of the McCarran-Walter Act broadened the grounds for deportation and limited

 discretionary relief from deportation. The 1952 Congress did not debate or engage with

 the rationale for enacting a criminalization of reentry. “An exhaustive reading of the

 congressional debate indicates that Congress was deeply concerned with many facets



 60
      Exhibit E, Testimony of Professor Lytle Hernández at 34.


                                           23 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 24 of 67




 of the Immigration and Nationality Act of June 27th, 1952, but sections 1325 and 1326

 were not among the debated sections.” United States v. Ortiz-Martinez, 557 F.2d 214,

 216 (9th Cir. 1977). Instead, Congress simply shifted the unlawful reentry statute to a

 different section of the U.S. Code as part of the McCarran-Walter Act’s consolidation of

 immigration laws and tweaked the language to make it easier to prosecute that crime by

 expanding it to cover those “found in” the U.S., while continuing to protect employers

 and ensure border enforcement remained lax. A rose by any other name would smell as

 sweet – the government cannot avoid the equal protection mandate of the constitution

 by simply giving a statute enacted with discriminatory intent a brand new number.

        “[A] prior version of a statute known to be motivated by racial animus may be

 considered as infecting its present iteration if it was not, in fact, substantially altered.”

 Carrillo-Lopez, 555 F. Supp. 3d at 1010 (citing Hunter, 471 U.S. at 232-33, and Abbott,

 138 S.Ct. at 2324-25, and noting that Supreme Court in Abbott distinguished its holding

 from Hunter because statute in Abbott was substantially different from predecessor and

 there was no evidence that reenacting legislature “carried forward the effects of any

 discriminatory intent”); see also Hunter, 471 U.S. at 229, 232-33 (in equal protection

 challenge to disenfranchisement law, examining original intent of 1901 legislature and

 rejecting government’s reliance on subsequent judicial narrowing, which did not indicate

 legislative intent to legitimate law); Ramos, 140 S.Ct. at 1401 n.44 (stating that racially

 discriminatory reasons for state’s initial adoption of jury nonunamity rule were relevant

 to constitutional analysis of rule’s functional benefits under Sixth Amendment).

        Additionally, when the legislature’s reenactments do not reflect legislative intent

 to rely on alternative, legitimate grounds, the reviewing court should not grant judicial




                                           24 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 25 of 67




 deference to the legislature’s reenactment. Compare Ramos, 140 S.Ct. at 1401 n.44

 (holding that original racist intent remained relevant notwithstanding recodification in

 new proceedings “untainted by racism”); Abbott, 138 S.Ct. at 2315, 2326 (indicating that

 in redistricting context, “presumption of legislative good faith” would be unwarranted

 where “a law originally enacted with discriminatory intent is later reenacted by a different

 legislature”).

        Rather than granting judicial deference in that context, the court should instead

 find an unbroken chain of causation beginning with the racial animus that motivated the

 initial act, which is sufficient to meet the challenger’s burden as to the reenactment. See

 Ramos, 140 S.Ct. at 1401 n.44; Abbott, 138 S.Ct. at 2326; Mt. Healthy, 429 U.S. at 286

 (noting that burden-shifting based on evidence of unconstitutional motive is “a test of

 causation”). Because judicial deference should not be applicable with respect to the

 reenactment under these circumstances, the court should conclude that the evidence of

 racism with respect to the original act is sufficient to demonstrate that racial animus was

 a motivating factor with respect to both the original act, and the later reenactment, and

 should require the government to prove that the statute would have been enacted

 absent discriminatory intent.

        With respect to § 1326, the Ninth Circuit has recognized in another context that

 the illegal reentry statute today should be interpreted through the lens of Congressional

 intent in 1929. In United States v. Rizo-Rizo, 16 F.4th 1292 (9th Cir. 2021), the Ninth

 Circuit looked to the Undesirable Aliens Act of 1929 when assessing the mens rea

 requirement in 8 U.S.C. § 1325, which criminalizes unauthorized entry (as opposed to

 reentry after deportation). The Ninth Circuit found it important that “the precursor




                                          25 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 26 of 67




 statutes to both §1325(a) and §1326(a), which bear substantially similar language to the

 modern statutes, were enacted together in 1929 as part of” the Undesirable Aliens Act.

 Id. at 1298. Why? Because “when statutes are enacted shortly after one another and

 address the same subject and use similar language, that demonstrates Congress’s

 intent that they have the same meaning.” Id. That is, the Ninth Circuit explicitly tied

 § 1326 to its “precursor statute,” the Undesirable Aliens Act, finding it was “Congress’s

 intent that they have the same meaning.” Id. It is therefore appropriate for this Court to

 construe § 1326 by referring to its precursor statute, the Undesirable Aliens Act’s

 unlawful reentry provision, and to find discriminatory intent.

        Supreme Court case law reflects the understanding that questions of legislative

 intent with respect to a reenactment should normally be viewed through the lens of

 Congressional intent at the time of the original enactment: “It will not be inferred that the

 legislature, in revising and consolidating the laws, intended to change their policy,

 unless such intention be clearly expressed.” United States v. Ryder, 110 U.S. 729, 740

 (1884). “[W]e do not presume that the revision worked a change in the underlying

 substantive law unless an intent to make such a change is clearly expressed.” Keene

 Corp. v. United States, 508 U.S. 200, 209 (1993) (cleaned up); Georgia v. Rachel, 384

 U.S. 780, 802 (1966) (noting that although statute had been modified and renumbered,

 “[t]here is no suggestion that the modifications in the statute since 1874 were intended

 to effect any change in substance. Hence, for the purposes of the present case, we are

 dealing with the same statute that confronted the Court in the cases interpreting

 [predecessor statute]”); see also Hunter, 471 U.S. at 232–33; Ramos, 140 S. Ct. at

 1410 (Sotomayor, J., concurring) (noting that “many laws and policies in this country




                                           26 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 27 of 67




 have had some history of racial animus” and citing United States v. Fordice, 505 U.S.

 717, 729 (1992) for the proposition that “policies that are ‘traceable’ to a State’s de jure

 racial segregation and that still ‘have discriminatory effects’ offend the Equal Protection

 Clause).

        Because racial animus motivated the 1929 Congress to criminalize reentry under

 the Undesirable Aliens Act, and because the 1952 Congress simply recodified that law

 at § 1326, while expanding liability to criminalize the status of merely being “found in”

 the United States after deportation, there is no need for this Court to assess the

 McCarran-Walter Act under Arlington Heights. Instead, this Court should return to the

 1929 statute and invite the government to meet its burden to establish that Congress

 would have enacted the criminalization of reentry law in 1929 even had the

 impermissible purpose not been considered. The lack of debate surrounding the reentry

 statute and almost word-for-word adoption of the language in the Undesirable Aliens Act

 do nothing to break the chain of discriminatory causation and therefore, the government

 will be unable to meet its burden.

        Two recent Supreme Court cases confirm that when the constitutionality of a law

 is questioned, any discriminatory purpose that fueled the law’s original enactment

 remains relevant when that purpose is relevant to the constitutional analysis. In Ramos,

 the Court struck down a state law permitting convictions by non-unanimous juries as

 violative of the Sixth Amendment. Ramos, 140 S. Ct. at 1401. In striking down the law,

 the Court analyzed several factors, including the “functional benefits” of non-unanimity,

 which was relevant to the test for constitutionality. Id. On that factor, the Court carefully

 analyzed the “racially discriminatory reasons that Louisiana and Oregon adopted their




                                           27 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 28 of 67




 peculiar rules in the first place.” Id. Although Justice Alito argued in dissent that both

 states later recodified their non-unanimity rules with no mention of race, the majority

 rejected the notion that this cured the laws’ original animus, holding that in order to

 “assess the functional benefits” of a law, courts cannot “ignore the very functions those

 rules were adopted to serve.” Id. at 1401 n.44. Nor could the justices’ “shared respect

 for rational and civil discourse . . . supply an excuse for leaving an uncomfortable past

 unexamined.” Id. (citation and quotations omitted).

       Two months later, the Supreme Court struck down a Montana law prohibiting

 families from using state-sponsored scholarships at religious schools, which the Court

 found violative of the Free Exercise Clause. See Espinoza v. Montana Dep’t of

 Revenue, 140 S. Ct. 2246 (2020). Here, the majority considered the law’s “checkered

 tradition” of underlying religious discrimination, even though it had been reenacted in

 the 1970s “for reasons unrelated to anti-Catholic bigotry,” because this history of

 discrimination was relevant to the state’s interest in maintaining the prohibition. Id. at

 2259. Concurring, Justice Alito provided an extensive history of the anti-Catholic and

 anti-immigrant motives underlying Montana’s law, concluding that “[u]nder Ramos, it

 emphatically does not matter whether Montana readopted the no-aid provision for

 benign reasons. The provision’s ‘uncomfortable past’ must still be ‘examined.’” Id. at

 2273 (quoting Ramos, 140 S. Ct., at 1396, n.44).61

       Similarly, in the redistricting context, the Supreme Court in Abbott identified at

 least two circumstances in which a reviewing court may decline to apply a “presumption

 of legislative good faith” to a legislature’s reenactment or modification of an existing




                                         28 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 29 of 67




 statute. Abbott, 138 S. Ct. at 2326.62 Those circumstances include, for example, the

 factual scenario presented in Hunter, or when “a law originally enacted with

 discriminatory intent is later reenacted by a different legislature,” or when the legislature

 “use[d] criteria that arguably carried forward the effects of any discriminatory intent on

 the part of” the prior legislature. Id. at 2326.

        In Abbott, the Supreme Court considered whether a 2013 Texas redistricting plan

 was entitled to a presumption of legislative good faith, when the Texas legislature had

 previously enacted a redistricting plan in 2011 that was challenged in court on grounds

 of racial discrimination, and never used. The Abbott Court found that the revised

 redistricting plan was entitled to a “presumption of legislative good faith” in light of the

 drafters’ efforts to make substantive changes to the never-used “defunct” prior plan,

 which they had modified pursuant to a directive from the Supreme Court itself “not to

 incorporate . . . any legal defects.” Abbott, 138 S. Ct. at 2325, 2329.




 61
    Justice Alito noted that although he had taken the opposite position in his dissent in
 Ramos, “I lost, and Ramos is now precedent.” Id. at 2268 (Alito, J., concurring).
 62
    It should be noted that Abbott is distinguishable here to the extent that it involved a
 state redistricting plan, which the Supreme Court noted “is primarily the duty and
 responsibility of the State.” Abbott, 138 S. Ct. at 2324 (citation omitted). As the Court
 emphasized, “federal-court review of districting legislation represents a serious intrusion
 on the most vital of local functions, and in that context, the good faith of the state
 legislature ‘must be presumed.’” Id. (quoting Miller v. Johnson, 515 U.S. 900, 915–16
 (1995) (emphasis added). Accordingly, to the extent Abbott suggests any kind of
 presumption of a legislature’s good faith, such presumption should be limited to
 redistricting cases. See Abbott, 138 S. Ct. at 2324. Judge Du notes that both Abbott and
 Miller justify this presumption on the complexity of redistricting—and there is no reason
 to believe such a presumption would carry over to a less complex statutory scheme,
 particularly where it has been shown that the original legislation was motivated by racial
 animus and the reenacting legislation is nearly identical. Carrillo-Lopez, 555 F. Supp. 3d
 at 1010, n.21. Additionally, the concern regarding intrusion on “local functions” is absent
 when – as here – a federal court performs its constitutional duty to assess whether a
 federal statute complies with the Due Process Clause.


                                             29 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 30 of 67




        The Abbott Court held that “under these circumstances,” the intent of the

 2013 legislature was “what matters,” but still made clear that the legislature’s original

 intent remained relevant to determining the intent of the reenacting legislature “to the

 extent that [it] naturally give[s] rise to—or tend[s] to refute—inferences regarding the

 intent of the” reenacting legislature. Id. at 2327. On the facts presented, the Supreme

 Court stressed that the legislature “did not reenact the plan previously passed by its

 2011 predecessor” and therefore had not “carried forward the effects of any

 discriminatory intent on the part of the 2011 Legislature.” Id.63

        At the same time, the Supreme Court in Abbott specifically limited its holding to

 the circumstances presented, noting,

        we do not confront a situation like the one in Hunter. Nor is this a case in
        which a law originally enacted with discriminatory intent is later reenacted
        by a different legislature. The 2013 Texas legislature did not reenact the
        plan previously passed by its 2011 predecessor. Nor did it use criteria that
        arguably carried forward the effects of any discriminatory intent on the part
        of the 2011 Legislature.

 Id. at 2325.

        With regard to § 1326, the 1952 Congress—unlike the legislature in Abbott—did

 not engage with the disparate impact or discriminatory purpose behind the original

 legislation. Rather, it recodified a racist law without debate, altering it only to make it




 63
    In that context, the Court stated that past discrimination does not, “in the manner of
 original sin,” condemn future governmental action that is not itself unlawful. Abbott, 138
 S.Ct. at 2324 (citing Mobile v. Bolden, 466 U.S. 55, 74 (1980)). Both Abbott and Mobile,
 however, are distinguishable on this point because both cases involved the voting
 context, and neither case involve a reenacted statute that was motivated by racial
 animus. See Mobile, 466 U.S. at 74 (“the District Court and the Court of Appeals
 supported their conclusion by drawing upon the substantial history of official racial
 discrimination in Alabama. But past discrimination cannot, in the manner of original sin,
 condemn governmental action that is not itself unlawful. The ultimate question remains


                                           30 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 31 of 67




 easier to achieve its discriminatory purpose, and knowingly “carried forward the effects”

 of the Act’s discriminatory intent. Abbott does not shield reenacting legislation from

 scrutiny where the legislature passes a nearly identical law, without taking any steps to

 break the chain of causation arising from the prior legislature’s racial motivation, such

 as acknowledging or addressing the prior legislation’s discriminatory motive or disparate

 effect. When Congress carries forward legislation that was motivated by racial animus

 and has produced racially disparate results (and, as set forth below, does so with ample

 evidence of the same discriminatory intent that motivated the original law), it takes no

 mental gymnastics to find that no intervening event broke the chain of discriminatory

 causation.

       Here, the original illegal reentry law codified in the Undesirable Aliens Act of

 1929 has been reenacted several times, most notably in 1952. But Ramos and

 Espinoza confirm that courts must examine the racial motivations of a law at the time of

 its passage in cases where those motivations are relevant to the law’s constitutionality.

 The 1952 Congress’s recodification of the Undesirable Aliens Act’s unlawful reentry

 statute—without debate on (and with full knowledge of) the statute’s discriminatory

 intent and disparate impact—establishes discriminatory intent under Arlington Heights.

       Commentators have also explained why, in the equal protection context, the

 original legislature’s racial animus should normally govern interpretation of any

 reenactments. See Frampton, Thomas, The Jim Crow Jury, 71 Vand. L. Rev. 1593

 (2018) (cited in Ramos, 140 S.Ct. at 1394 n.4). In The Jim Crow Jury, Professor

 Thomas Frampton argued that jury nonunanimity laws should be struck down under the



 whether a discriminatory intent has been proved in a given case. More distant instances


                                         31 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 32 of 67




 Equal Protection Clause, relying in part on Arlington Heights and Hunter.64 Id. at 1651-

 52. Professor Frampton anticipated Justice Alito’s dissenting argument in Ramos,

 specifically, that original intent was not relevant because subsequent constitutional

 conventions had readopted the measure. Id. at 1651-52 n.283. In response, Professor

 Frampton noted that the Supreme Court had already rejected a variation of that

 argument in Hunter, and cited United States v. Fordice, which held:

        [A] State does not discharge its constitutional obligations until it eradicates
        policies and practices traceable to its prior de jure dual system that
        continue to foster segregation. Thus, we have consistently asked whether
        existing racial identifiability is attributable to the State and examined a
        wide range of factors to determine whether the State has perpetuated its
        formerly de jure segregation in any facet of its institutional system.

 505 U.S. at 728. As previously noted, Justice Sotomayor specifically cited this aspect of

 Fordice in her concurrence in Ramos. 140 S. Ct. at 1410 (Sotomayor, J., concurring)

 (citing Fordice and noting that “[w]here a law otherwise is untethered to racial bias—and

 perhaps also where a legislature actually confronts a law’s tawdry past in reenacting it—

 the new law may well be free of discriminatory taint. That cannot be said of the laws at

 issue here.”).

        Applying that logic here, although Fordice involved de jure segregation, the racial

 animus underlying § 1326 is so apparent that it should be appropriate to consider this

 nation’s approach to illegal reentry as a form of de jure segregation. Indeed, the district

 court in Machic-Xiap provided a detailed summary of this tragic history of purposeful



 of official discrimination in other cases are of limited help in resolving that question.”).
 64
    While the Court in Ramos ultimately struck down jury nonunamity rules under the
 Sixth Amendment, the Ramos Court appears to have found Professor Frampton’s
 extensive research regarding the racial animus behind jury nonunanimity rules to be
 highly persuasive. Compare Jim Crow Jury at 1599-1620 with Ramos, 140 S.Ct. at
 1394, 1401 & n.44.


                                           32 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 33 of 67




 discrimination, and specifically addressed the combined intent of the quota system and

 the illegal reentry law in 1929 as follows:

        [C]ongressmen were decrying the threat posed by immigration from Latin
        America. One representative urged Congress to “see what grave
        problems have been injected into our national life by the importation for
        labor purposes of great numbers of [Mexican] people essentially different
        from us in character, in social position, and otherwise.” Another argued
        that “[Mexican] immigrants are poisoning the American citizen.” Still
        another complained that their “blood [is] a very great penalty upon the
        society which assimilates it,” because it is “composed of mixture blood of
        white, Indian, and negro.”

        Increased deportations of immigrants from south of the border also altered
        southwestern agribusiness’ calculations. Farmers quickly realized that the
        threat of deportation was a strong bargaining tool that they could use for
        their benefit. South Carolina Senator Coleman Livingston Blease saw an
        opportunity for compromise: Congress would not impose a quota on
        immigrants from Mexico or Central America, but criminalize the act of
        illegally reentering the United States after deportation. Thus, Farmers
        retained their labor force and gained “the threat of imprisonment in ...
        negotiations” with undocumented laborers. Congressmen who feared that
        persons from Latin America imperiled the nation’s blood purity,
        meanwhile, gained a legal way to separate them from rest of the
        population. Of course, fear of blood contamination or desire for economic
        exploitation was not the only reason for enacting the 1929 Act.

        The 1929 Act also solidified perceptions of persons from Latin America as
        a separate, unwelcomed race. In the 1930 Census, Mexicans were no
        longer categorized as white, but as a distinct race. Throughout the 1930s
        and early 1940s, “Mexican workers in the Southwest and California were
        racialized as a foreign people, an ‘alien race’ not legitimately present or
        intended for inclusion in the polity.” Moreover, “[d]uring the 1930s, ...
        between 85 percent and 99 percent of the people who are in prison [for
        unlawful reentry] are Latin Mexican nationals.” The perception of persons
        from Latin America as “the illegal” “deepen[ed] after the passage [of the
        1929 Act].”

 Machic-Xiap, 552 F. Supp. 3d 1055 at 1067–68 (footnotes omitted).

        Considering § 1326 in its larger context provides further reason to conclude that

 the reenactments must be viewed through the lens of the legislature’s original intent and

 cannot meet the government’s burden under Arlington Heights to show that the illegal



                                           33 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 34 of 67




 reentry statute would have been passed without discriminatory animus. Compare

 Fordice, 505 U.S. at 728 (holding that State has obligation under Equal Protection

 Clause to eliminate remnants of de jure segregation, and cannot discharge its burden

 by relying on facially neutral reenactments where there are still constitutionally suspect

 features).

      D. There Is Ample Evidence That Discriminatory Intent Also Motivated the
         McCarran-Walter Act.

        The 1952 Congress recodified the unlawful reentry statute not in spite of the

 1929 Congress’ racism, but also due to its own racial animus. Applying Arlington

 Heights to the 1952 recodification of § 1326, it is clear racial animus was also a

 motivating factor in its passage.

        1. Historical Background. The anti-Latinx racism that motivated Congress in

 1929 did not dissipate over the years leading up to the passage of the INA in 1952.

 White supremacy was alive and well throughout this time. Schools were segregated,

 see, e.g., Westminster Sch. Dist. Of Orange Cty. v. Mendez, 161 F.2d 774, 781 (9th Cir.

 1947) (holding that the “segregation of school children of Mexican descent” violated the

 Fourteenth Amendment), and anti-miscegenation laws were on the books in numerous

 states, see Loving v. Virginia, 388 U.S. 1, 7 (1967) (noting a state court had, in 1955,

 upheld an anti-miscegenation law as “an endorsement of the doctrine of White

 Supremacy” and an attempt to prevent “a mongrel breed of citizens”). Between 1929

 and 1952, there were two major historical events bearing on the Latinx population: the

 “repatriation drives” of the Great Depression and the subsequent Bracero Program.

 Both events demonstrate the United States’ intent to preserve the white racial majority




                                         34 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 35 of 67




 and purity by preventing Latinx migrants’ permanent settlement and exerting control

 over a temporary and exploitable Latinx workforce.

        During the Great Depression, an estimated 400,000 to over 1 million Mexicans

 and Mexican-Americans were coerced and threatened into leaving the United States in

 informal raids of Mexican-American communities known as “repatriation drives.” Sixty

 percent of them were U.S. citizens. As Professor Gonzalez O’Brien testified, “this was a

 campaign that was meant to fuel voluntary repatronization … driven by a sense of the

 threat of deportation or the threat of additional penalties if those individuals did not

 return to Mexico.”65 The campaign achieved its purpose by driving millions of Latinxs—

 many, if not most, of whom were U.S. citizens—out of the United States. California has

 since apologized to the “estimated two million people of Mexican ancestry [who] were

 forcibly relocated to Mexico, approximately 1.2 million of whom had been born in the

 United States.”66

        Not long after this mass exile of Latinx people, the United States entered World

 War II, finding itself again in need of cheap labor. In 1942, the United States started the

 Mexican Farm Labor Program, also known as Operation Bracero or the Bracero

 Program. The idea was to funnel Latinx labor into the United States on a legal and

 temporary basis, while ensuring decent wages and humane treatment for the laborers.

 But the reality was that Braceros were lured to the United States only to be brutalized.

 They were subjected to medical inspections that required them to strip naked and




 65
    Exhibit D, Testimony of Professor Gonzalez O’Brien at 87.
 66
     California Apology Act for the 1930s Mexican Repatriation Program (effective
 January 1,                       2006),                      available                at
 https://leginfo.legislature.ca.gov/faces/billTextClient.xhtml?bill_id=200520060SB670.


                                          35 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 36 of 67




 involved invasive inspections and “being gassed systematically with DDT.”67 The

 protections they were promised were routinely ignored.68 They were exploited and

 subjected to literally backbreaking labor precisely because of their race. As Professor

 Lytle Hernández testified, the Braceros were mistreated because of the stereotype “that

 they, as a racial group, um, were more stout and close to the ground and sort of fit for

 this kind of labor, and so they didn’t need the accoutrement that others did.” Id. When

 they were no longer needed, they were sent back or deported to Mexico, and the illegal

 reentry statute was used as a threat to ensure their submission to their own

 exploitation.69 “[T]he immigration enforcement policies of the Bracero era powerfully

 reinforced longstanding racist notions that Mexican migrants deserved admission into

 the United States not as prospective citizens but instead as a cheap, exploitable, and

 deportable force.”70 Both the “repatriation drives” of the Great Depression and the

 subsequent Bracero Program demonstrate that anti-Latinx racism remained prevalent in

 the years leading up to the passage of the INA in 1952.

       2. Sequence of Events Leading Up To The Challenged Action. The historical

 events directly surrounding passage of the McCarran-Walter Act (“the specific sequence

 of events leading up to the challenged decision”), especially the 1952 Congress’ debate

 and passage of the “Wetback Bill,” which included regular use of the racial slur

 “wetback,” just two months before its passage of the McCarran-Walter Act, similarly

 reveal Congress’ discriminatory intent. Moreover, Congress’ continued rejection of law

 enforcement requests for border enforcement funding and refusal to impose penalties



 67
    Exhibit D, Testimony of Professor Lytle Hernández at 76–77.
 68
    Exhibit D, Testimony of Professor Lytle Hernández at 78.
 69
    Exhibit D, Testimony of Professor Lytle Hernandez at 60.


                                        36 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 37 of 67




 for employers of undocumented immigrants, are substantive irregularities that

 undermine any assertion that the true purpose of § 1326 was to secure the border or

 prevent illegal immigration.

        Congress passed Senate Bill 1851 (the so-called “Wetback Bill”) two months

 before the same Congress passed the McCarran-Walter Act. The Wetback Bill’s

 passage is particularly probative for two reasons: first, it was passed by the same

 Congress that, just two months later, would recodify the unlawful reentry provision of the

 Undesirable Aliens Act; and second, it shared the aim of preventing unlawful

 immigration (its stated purpose was to “assist in preventing aliens from entering or

 remaining in the United States illegally.”).71 The 1952 Congress’ debate and passage of

 the Wetback Bill is relevant historical background demonstrating the open racism of the

 legislature that would enact § 1326 only two months later. As Professor Gonzalez

 O’Brien testified, “throughout the debate [on the bill], Mexican undocumented entrants

 [were] regularly referenced as wetbacks,” the debate focused on the “wetback problem,”

 and legislators suggested that individuals “may be criminals because they are

 wetbacks.”72 The fact that the 1952 Congress openly used the racial slur “wetback” to

 refer to Mexicans—while debating the “Wetback Bill”—is illustrative of the open racial

 animus of the 1952 Congress.

        Professor Gonzalez O’Brien testified that the “term ‘wetback’ is one that is

 racially derogatory, was recognized as being racially derogatory at the time,” and

 “across the period of the 1940s and 1950s [was] associated … almost synonymous with



 70
    Exhibit C, Kang Decl. at 11.
 71
    Pub. L. No. 82-283, 66 Stat. 26 (1952).
 72
    Exhibit D, Testimony of Professor Gonzalez O’Brien at 97–98, 107.


                                         37 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 38 of 67




 Mexicans.”73 “[W]hile the use of racial slurs, epithets, or other derogatory language does

 not alone prove discriminatory intent, it is evidence that official action may be motivated

 by such an unlawful purpose.” La Union del Pueblo Entero v. Ross, 353 F. Supp.3d

 381, 395 (D. Md. 2018). As Judge Du found in Carrillo-Lopez, the use of the term

 “wetback” “evidences the racial environment and rhetoric in 1952, even among

 high-ranking government officials and committees, specifically with regard to Mexican

 and Latinx people.” 555 F. Supp. 3d at 1014.

          Congress’ passage of the “Wetback Bill” also represents an illogical and counter-

 intuitive substantive irregularity leading up to the enactment of § 1326. This is because

 of the incongruity between the stated intent of the “Wetback Bill” and Congress’ actual

 intent, as demonstrated by the language of the statute. While the bill’s stated aim was to

 prevent “aliens from entering or remaining in the United States illegally,” the law

 safeguarded the interests of agribusiness by shielding employers from prosecution (“for

 the purposes of this section, employment … shall not constitute harboring”), directly

 conflicting with its stated goal.74 The 1952 Congress, despite its avowed interest in

 limiting unlawful immigration, was in fact furthering the racist compromise introduced by

 the 1929 Congress: preserving American industry’s access to cheap and exploitable

 Latinx labor while punishing the Latinx migrants who provided that labor. As Judge Du

 found in Carrillo-Lopez, the 1952 Congress’ “criminalization of Mexican immigrant

 laborers while shielding employers evidences the racially discriminatory motives and

 intent of the same Congress who enacted Section 1326 only two months later.” 555 F.

 Supp. 3d at 1016.



 73
      Exhibit D, Testimony of Professor Gonzalez O’Brien at 89.


                                           38 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 39 of 67




        Similarly, Congress rejected the INS’ proposal for employer penalties to deter

 unlawful immigration. As Dr. Kang establishes, the INS proposed such sanctions, and

 the Truman administration published that recommendation in a 1951 report explaining

 that “American growers created the conditions that drew undocumented works to the

 United States in the first place”—and that it was those American growers “rather than

 the migrants themselves, [who] bear the principal responsibility for the so-called crisis

 on the border.”75 But, “[a]s in the 1920s, racist conceptions of Mexican migrants as the

 ideal agricultural workforce led congressional conservatives to ... reject efficacious

 employer penalty proposals.”76 These irregularities further demonstrate that it was racial

 animus—not a race-neutral desire to prevent unlawful immigration—that motivated

 Congress’ recodification of the unlawful reentry statute at § 1326. If Congress’s\ true

 aim was preventing unlawful immigration, it was illogical and counter-intuitive for it to cut

 the border enforcement budget and refuse to sanction employers who hired

 undocumented immigrants.

        As Judge Du found in Carrillo-Lopez, this sequence of events demonstrates that

 “[t]he 1952 Congress’s silence does not evince a neutral viewpoint, but worked to

 expand the enforceability of an admittedly racist law.” 555 F. Supp. 3d at 1015.

        3. Legislative History. Four portions of the legislative history of the McCarran-

 Walter Act highlight Congress’ discriminatory intent in recodifying § 1326: (1) the ways

 in which Patrick McCarran and Francis Walter exerted their considerable influence over



 74
    Pub. L. No. 82-283, 66 Stat. 26 (1952).
 75
    Exhibit C, Kang Decl. at 14.
 76
    Exhibit C, Kang Decl. at 13. These efforts were led by Senator Allen Ellender of
 Louisiana, the son of Louisiana plantation owners, a lifelong segregationist and civil
 rights opponent, and an ally of agribusiness. See Kang Decl. at 15–16.


                                           39 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 40 of 67




 the legislative process and other congressmen to achieve their racist aims in relation to

 the Act; (2) the fact that the Act preserved the quota system but also continued Western

 Hemisphere immigration quota-free, necessitating § 1326 to prevent Latinx migrants

 from settling permanently in the United States; (3) the fact that Congress overrode

 President Truman’s veto, in spite of his explicit criticism of the racism contained in the

 Act; and (4) that the one and only substantive change to the § 1326 statute was

 generated in response to a letter providing the views of the Department of Justice that

 included the racial slur “wetback.”

        The sponsors of the McCarran-Walter Act were racists who exerted their

 considerable power to enact a law that disproportionately favored white Western

 European immigrants. Senator McCarran, chair of the Senate Judiciary Committee, of

 which Immigration is a subcommittee, was a racist and anti-Semite.77 He described the

 threat of immigration as one of the United States being “overrun, perverted,

 contaminated, or destroyed.”78 He used the racial slur “wetback” repeatedly, including in

 Senate committee hearings in 1951 and 1953.79 Francis Walter was the head of the

 House Judiciary Subcommittee on Immigration, and had ties to eugenics. In the 1950s

 and 1960s, Rep. Walter served as a committee member on a committee that awarded




 77
    See Exhibit C, Kang Decl. at 18–19 n.54. See also Exhibit O, Letter from Senators
 Jacky Rosen and Catherine Cortez Masto and Representatives Steven Horsford, Dina
 Titus, and Susie Lee, dated June 19, 2020), describing Senator McCarran’s “dark
 legacy of virulent racism, anti-Semitism, and xenophobia,” describing him as “a man
 who advocated bigotry,” and requesting that his statue be removed from the National
 Statuary Hall Collection.
 78
    Exhibit O, Letter from Senators.
 79
    Exhibit C, Kang Decl., 17-19.


                                         40 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 41 of 67




 grants for genetics research funded by a noted eugenicist.80         81
                                                                           Even the State

 Department agrees that Senator McCarran and Representative Walter were motivated

 to secure passage of the McCarran-Walter Act by concern “that unassimilated aliens

 could threaten the foundations of American life.”82 Their racial animus was evident in the

 strategies they employed in connection with the Act. For instance, in order to skew the

 already racist quota system further in favor of Western Europeans, Walter and

 McCarran insisted on using the 1920 census numbers to set the quotas, rather than

 using recent census data, which would result in more diverse admissions.83 By using

 1920 census numbers, they were able to engineer unfairly high quotas for northwestern

 Europe and unfairly low numbers for southeastern Europe and the rest of the world.84

       As the chair of the Senate Judiciary Committee,85 Senator McCarran had a

 considerable amount of influence over the legislative process.86 In July 1952, one month



 80
    Lichtenstein, Grace, Fund Backs Controversial Study of ‘Racial Betterment’, N.Y.T.
 (Dec. 11, 1977), available at: https://www.nytimes.com/1977/12/11/archives/fund-backs-
 controversial-studyof-racial-betterment-some-others-who.html. (The committee was
 financed by Wickliffe Draper, founder of the Pioneer Fund, an organization whose
 original mandate was to pursue “race betterment” by promoting the genetic stock of
 those “deemed to be descended predominantly from white persons who settled in the
 original thirteen states prior to the adoption of the Constitution.” See fn. 52).
 81
     Southern Poverty Law Fund, Pioneer Fund, https://www.splcenter.org/fighting-
 hate/extremistfiles/group/pioneer-fund (last accessed Jan. 21, 2022).
 82
     U.S. Dep’t of State, Office of the Historian, The Immigration and Nationality Act of
 1952 (The McCarran-Walter Act), https://bit.ly/32d4Y6B.
 83
    Bennett, Marion T. "The Immigration and Nationality (McCarran-Walter) Act of 1952,
 as Amended to 1965," Annals of the American Academy of Political and Social Science,
 “The New Immigration” 367 (1966): 129.
 84
    Id.
 85
    Exhibit C, Kang Decl. at 16.
 86
     “A committee’s influence may extend throughout the legislative process to the
 enactment of bills into law. A committee member, often the chair, will play an important
 role in managing the full Senate’s deliberation on the bill. Also, committee members will
 be appointed as conferees to reconcile the Senate version of a bill with the version
 passed by the House of Representatives.” United States Senate, About the Senate


                                         41 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 42 of 67




 after the passage of the McCarran-Walter Act, the Washington Post declared in an

 article: “It sums the character of this congress to state an unquestionable fact: that its

 most important member was Patrick A. McCarran.”87 McCarran wielded that influence to

 delay and block the passage of any liberal immigration reforms.88     89
                                                                            For instance, in

 order to push through the McCarran-Walter Act, Senator McCarran chose to deviate

 from procedural norms by rarely making himself available to debate the merits of his bill,

 and if he did, he obstructed the process by “refusing to yield to questions or simply

 repeat[ing] his own points in answer to a question.”90

       McCarran’s influence on the rest of Congress was obvious: his racist comments

 on the national origins quota system made on the Senate floor were turned nearly

 verbatim into the Senate Judiciary Committee’s Report and recommendation. Leading

 the defense of the quota system, McCarran stated on the floor of the Senate, “the

 national origins quota formula was a rational and logical method of numerically

 restricting immigration in such a manner as to best preserve the sociological and

 cultural balance in the population of the United States.”91 His opinion made it directly

 into the Senate Judiciary Committee Report. Five years of Congressional study

 preceded the 1952 Act, and this study culminated in the Senate Judiciary Committee



 Committee                        System,                    available                 at
 https://www.senate.gov/general/common/generic/about_committees.htm (last accessed
 Jan. 23, 2022).
 87
     Johnson, Robert David, Congress and the Cold War, Cambridge University Press
 (November 21, 2005) at 55; citing Washington Post, Jul. 10, 1952.
 88
     As Dr. Kang notes, McCarran characterized his role as chairman of the Judiciary
 Committee as follows, “[t]he chairman of a committee or a subcommittee cannot always
 assure passage of a bill which has been referred to his group, but can almost always kill
 the bill if he wishes to do so.” Kang Decl., fn. 56.
 89
    Id. citing to S. Rept. 1515, pp. 442-445; 455, 81st Cong, 2d Sess. (1950).
 90
    Exhibit C, Kang Decl. at 19; fn. 59.


                                          42 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 43 of 67




 Report, a 900-page document which strongly supported the perpetuation of the national

 origins quota system originated in 1924.92 Directly echoing Senator McCarran, it

 recommended: “the national origins system represented ‘the will of Congress to

 preserve the racial composition of the United States through the selection of immigrants

 from those countries whose traditions, languages, and political systems were akin to

 those of this country… There is no doubt that it favored the peoples of the countries of

 northern and western Europe over those of southern and eastern Europe, but the

 subcommittee holds that the peoples who had made the greatest contribution to the

 development of this country were fully justified in determining that the country was no

 longer a field for further colonization and, henceforth, further immigration would not only

 be restricted but directed to admit immigrants considered to be more readily assimilable

 because of the similarity of their cultural background to those of the principal

 components of our population.’”93 The McCarran-Walter Act was “Congress’s response

 to the ‘massive, nine-hundred page [Senate Judiciary] report that identified problems

 with current U.S. immigration policy and laid out recommendations for how best to

 address them.’” Machic-Xiap, 552 F. Supp. 3d 1055 at 1069, internal citation omitted.

 Those recommendations that so influenced Congress came straight from the mouth of

 Patrick McCarran. This demonstrates both the power to influence wielded by Senator

 McCarran and the widespread Congressional adoption of his stated discriminatory

 purpose, to maintain the white racial majority.




 91
    Exhibit C, Kang Decl. at 18, 99 Cong. Rec.1517-18 (March 2, 1953).
 92
    Bennett, Marion T., supra, at 128-130.
 93
    Bennett, Marion T., supra, at 129.


                                          43 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 44 of 67




        The concerns of nativists like McCarran (as evidenced by McCarran’s stated

 intent to preserve the white majority of the United States) and agribusiness (as evident

 from their use of illegal reentry to force subservience from workers in the Bracero

 Program and outside of it) were unchanged between the 1920s and 1952. Joined by

 such allies as Senator James Eastland,94 a strident segregationist and cotton planter

 whose family employed many undocumented Latinx migrants, they were a powerful

 coalition. Even Congress members inclined to oppose the racist aspects of the

 McCarran-Walter Act knew that arguing against the racism underlying that provision

 would be ineffective because McCarran and Walter, by virtue of their positions and

 many allies, could and would block any attempt to alter their bill. Ultimately, “[t]hose

 congressmen who were most likely to attack the racist premises of the nation’s

 immigration laws admitted that such a challenge would fail due to the pervasive racism

 among their fellow members in Congress and the institutional advantage wielded by the

 nativists and segregationists.”95 Or, as Representative Emanuel Celler of New York put

 it, “I knew that a really liberal immigration bill … had no more chance of being enacted

 this session than could a bit of butter remain intact on a hot stove.”96




 94
    Exhibit C, Kang Decl. at 19-20, fn. 60. “Eastland himself hired both legal and
 undocumented Mexican workers and worked directly with the INS to obtain those
 workers. Thus, for example, INS records reveal that in 1948, an Eastland staffer
 contacted A. R. Mackey to follow up on a promise that “he would get 50 Mexican
 laborers from Monterey.” In lieu of these legally contracted workers, however,
 Eastland’s office indicated that the Senator could procure “50 ‘wetbacks’” from his uncle
 who had a ranch in Texas. A.R. Mackey, Memorandum of telephone call between A. R.
 Mackey and Mr. Payce, Staff Member for Senator Eastland of Mississippi,
 September 16, 1948, 1:50p.m., file 56246/339B, RG 85, National Archives.”
 95
    Exhibit C, Kang Decl. at 23.
 96
    Exhibit C, Kang Decl. at 20.


                                           44 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 45 of 67




        Second, for the same reasons that the national origins quota system was

 untouchable in 1952, § 1326 was equally untouchable. To appease agribusiness racists

 like Eastland, the McCarran-Walter Act limited the quota system to immigrants from the

 Eastern Hemisphere, preserving the Western Hemisphere exception in the National

 Origins Act.97 Without the entry and reentry provisions, there would be no mechanism to

 remove Latinx workers who had outstayed their usefulness, creating a threat to the

 white majority in America. McCarran, Walter, and their allies, would never allow such a

 thing to occur.

        Third, 1952 Congress’ racial animus is further demonstrated by its overriding of

 President Truman’s veto of the McCarran-Walter Act, which explicitly criticized the

 racism of the Act. On June 25, 1952, President Truman vetoed the McCarran-Walter

 Act and issued a veto statement.98 He condemned the INA as “legislation which would

 perpetuate injustices of long standing” and “intensify the repressive and inhumane

 aspects of our immigration procedures.”99 He expressed dismay that so much of the INA

 “would continue, practically without change” discriminatory immigration laws.100 He

 admonished that it was “the time to shake off this dead weight of past mistakes … time

 to develop a decent policy of immigration … and a true reflection of the ideals we stand

 for, at home and abroad.”101 Two days after President Truman’s statement, Congress

 overrode the veto and passed the INA. Congress’ passage of the INA over a

 presidential veto explicitly calling out the law for its racism is evidence of racial animus.



 97
    Bennett, Marion T., supra, at 127.
 98
    Exhibit R (President Truman’s statement on “Veto of Bill to Revise the Laws Relating
 to Immigration, Naturalization, and Nationality,” June 25, 1952).
 99
    Id. at 3.
 100
     Id. at 4.


                                           45 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 46 of 67




 As Judge Du found in Carrillo-Lopez, “Congress’ failure to heed President Truman’s call

 to ‘reimagine’ immigration while simultaneously making the INA, and particularly Section

 1326, more punitive in nature, is evidence of at least indifference to the nativist

 motivations of the statute’s predecessor.” 555 F. Supp. 3d at 1013.

       The fourth way in which the legislative history reflects congressional

 discriminatory intent is that the one and only substantive change to the § 1326 statute

 was generated in response to a letter providing the views of the Department of Justice

 that included the racial slur “wetback.” Deputy Attorney General Peyton Ford wrote to

 the Chairman of the Committee on the Judiciary on behalf of the Department of Justice,

 included the racial slur “wetback,” and requested the one and only substantive change

 to the statute— the expansion of the law to cover those “found in” the United States.102

 As the letter makes clear, this change was expressly designed to make it easier for the

 government to establish venue in criminal prosecutions.103 Deputy Attorney General

 Ford was not some fringe figure shooting off a letter to his representative. He was the

 second highest-ranking Department of Justice official and was providing “the views of

 the Department of Justice.”104 Based on his request alone (the congressional record

 does not appear to contain any other comment on what is now § 1326), the 1952

 Congress expanded the unlawful reentry statute so that venue would lie wherever a




 101
     Id. at 6.
 102
     Exhibit P (Statement of Peyton Ford, Deputy Attorney General, May 14, 1951).
 103
     Exhibit P at 6 (“This change would overcome the inadequacies in existing law which
 have been observed in those cases in which it is not possible for the Immigration and
 Naturalization Service to establish the place of reentry, and hence the proper venue,
 arising in prosecutions against a deported alien under the 1929 act.”).
 104
     Exhibit P at 1.


                                         46 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 47 of 67




 reentering immigrant was found. But for this expansion, the government would have no

 grounds to prosecute Mr. Duron-De Luna in the District of Colorado.

        Based on the record before the Court in Carrillo-Lopez, Judge Du was correct to

 find “the totality of the evidence shows that the same factors motivating the passage of

 [the unlawful reentry statute] in 1929 were present in 1952”—meaning, “racial animus

 was at least one motivating factor behind the enactment of Section 1326.” 555 F. Supp.

 3d at 1011, 1017. This Court has even more information than Judge Du had before her,

 and it should come to the same result.

       E. Amendments To § 1326 Did Not Break The Chain Of Discriminatory
          Causation.

        The Anti-Drug Abuse Act of 1988 amended § 1326 by adding subsection (b)

 which created increased penalties for those with prior felony convictions.105 The new

 § 1326(b) provided that a person with a prior felony conviction who reenters may be

 imprisoned up to five years, and a person with an aggravated felony conviction may be

 imprisoned up to 15 years. Id. The Immigration Act of 1990 removed the $1,000 cap

 and authorized greater fines under Title 18.106 In 1994, the VCCLEA increased penalties

 for violating § 1326 by including defendants with misdemeanor convictions in the

 heightened penalty category, markedly increasing imprisonment time for defendants

 with a prior felony, aggravated felony, or with three or more specified misdemeanors.107

 The amendment also broadened the definition of ‘deportation’ to include “any

 agreement in which an alien stipulates to deportation during a criminal trial under either




 105
     See Pub. L. 100-690, title VII § 7345(a), 102 Stat. 4471 (Nov. 18, 1988) (codified at
 8 U.S.C. § 1326 (1988)).
 106
     See Pub. L. 101-649, title V § 543(b)(3), 104 Stat. 5059 (Nov. 29, 1990).


                                          47 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 48 of 67




 Federal or State law.” Id. In 1996, AEDPA again amended § 1326 by mandating

 incarceration for any person who reenters after they were deported by judicial order,

 and limiting collateral attack of the underlying deportation order.108 The AEDPA

 amendments also imposed a new 10-year mandatory consecutive sentence for persons

 excluded from entry for spies and suspected saboteurs. Id. Finally, also in 1996, IRIRA

 added a penalty for persons convicted of nonviolent offenses who had been removed

 while on parole, supervised release, or probation, who then reenter.109

       Because the unlawful reentry statute of 1929 was enacted with discriminatory

 intent and disparately impacts Latinxs, these amendments are only relevant to the

 Court’s analysis if they create a break in the chain of discriminatory causation. They

 do not; rather they build on the racial animus present in the Undesirable Aliens Act and

 the McCarren-Walter Act.

       Judge Du was correct to hold that § 1326’s amendments “never substantively

 altered the original provision,” “did not change the operation of § 1326,” and “do not

 reflect any change of Congressional intent, policy, or reasoning, but merely work to

 increase § 1326’s deterrent value.” Carrillo-Lopez, 555 F. Supp. 3d at 1026.

       Because the amendments of the 1980s and 1990s did not change § 1326 in any

 meaningful way, there is no need for this Court to assess these later amendments

 under Arlington Heights. Instead, the burden remains with the government to establish



 107
     See Pub. L. 103-322, title XIII § 130001(b), 108 Stat. 2023 (Sept. 13, 1994) (codified
 at 8 U.S.C. § 1326 (1994)).
 108
     See Pub. L. 104-132, title IV §§ 401(c), 438(b), 441(a), 110 Stat. 1267-68, 1276,
 1279 (Apr. 24, 1996) (codified at 8 U.S.C. § 1326 (2000)).
 109
      See Pub. L. 104-208, div. C title III §§ 305(b), 308(d)(4)(J), 308(e)(1)(K),
 308(e)(14)(A), 324(a), 324(b); 110 Stat. 3009-606, 3009-618 to 3009-620, 3009-629
 (Sept. 30, 1996).


                                         48 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 49 of 67




 that Congress would have enacted the criminalization of reentry law even had the

 discriminatory purpose not been considered.

      F.   Amendments of § 1326 Were Motivated By Racial Animus.

       Nevertheless, should this Court find that the amendments to the statute were

 intervening events that broke the chain of discriminatory causation, there is ample

 evidence that discriminatory intent also motivated Congress to amend § 1326 in the late

 1980s and 1990s.

       The Immigration and Nationality Act of 1965 (“INA”) resulted in both an influx of

 new Latinx immigrants and a rebranding of previous Latinx border crossers as “criminal

 aliens.” This, combined with the “tough on crime” and “war on drugs” political platforms

 that had captured America’s collective imagination, fueled a nativist backlash against

 Latinx immigrants who infected Congress and transcended party lines. Against this

 backdrop, FAIR drafted and promoted model legislation based on eugenics,

 xenophobia, and racism, and became influential among members of Congress. FAIR

 directly shaped four of the five amendments to § 1326 either by directly drafting them for

 Congress members to introduce or by collaborating with the Congress members and

 supporting the amendments and containing legislation. These amendments were

 authored and sponsored by elected officials from Florida (Senator Lawton Chiles,

 Senator Bob Graham, and Representative Bill McCollum) working in close conjunction

 with FAIR, in response to a perceived crisis that the nation had lost control of its




                                         49 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 50 of 67




 borders.110 As Dr. Kang concludes, each of the five amendments was “enacted with a

 discriminatory purpose.”111

        1. Historical Background. Three historical events shaped the amendments of

 the late 1980s and 1990s: the passage of the Immigration and Nationality Act of 1965

 (INA); the popularity of the War on Drugs/Tough on Crime movement; and the rise of

 FAIR. First, Congress amended the McCarran-Walter Act with the INA, which finally

 removed national origin quotas and purported to eliminate national origin, race, and

 ancestry as a basis for immigration. But in order to convince its opponents that the

 racial makeup of America would remain unchanged,112 the INA imposed the very first

 quota on immigration from the Western Hemisphere.113 The quota was far below the

 number of Latinx migrants who had crossed the border annually, and they were turned

 into undocumented immigrants overnight.114     115
                                                      At the same time, the INA opened the

 door to refugees from other Latin American countries, who came at a rate far greater

 than the INA’s proponents had promised.116 By the early 1990s, the country was

 experiencing “the virulent xenophobia that emerged as a result of an economic

 recession ... and increases in both the legal and undocumented immigrant




 110
     Exhibit C, Kang Decl. at 25.
 111
     Exhibit C, Kang Decl. at 1.
 112
     Senator Ted Kennedy, speaking in favor of the bill during a Senate debate claimed:
 "our cities will not be flooded with a million immigrants annually. ... Secondly, the ethnic
 mix of this country will not be upset." See e.g. Bill Ong Hing (2012), Defining America:
 Through Immigration Policy, Temple University Press, p. 95, ISBN 978-1-59213-848-7.
 113
     Exhibit C, Kang Decl. at 24.
 114
     Exhibit C, Kang Decl. at 25.
 115
     In 1978, hemispheric limits were eliminated and replaced with worldwide quotas, but
 those quotas still did not account for the number of migrants that had historically
 crossed the Mexican-American border within a single year.
 116
     Exhibit C, Kang Decl. at 24.


                                          50 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 51 of 67




 population.”117 The influx of immigrants shifted the racial balance, especially in border

 states, causing a nativist backlash which only grew as the country headed into a

 recession.118 Newly undocumented Mexican migrants, popularly believed to be

 unassimilable, “were blamed for nearly all of the nation’s economic, social, and political

 problems.”119 By 1994, 64% of Americans supported a reduction in immigration.120           121


 Opinion polls showed the highest level of hostility toward immigrants “since the heyday

 of nativism in the 1920s.”122 As The New York Times put it, “Americans have felt freer to

 voice a rude inhospitality that at other times they might have considered racist or at

 least xenophobic.”123 Patrick Buchanan (the presidential candidate and political

 commentator) revived the eugenicist notion of “race suicide,” warning that white

 Americans would become a minority given Mexican birth rates.124 But it was not only

 conservatives   that   pushed   the   nativist   agenda.   Historically   liberal   California

 overwhelmingly passed Proposition 187, a ballot initiative that prohibited undocumented

 immigrants in California from non-emergency medical care, public schools, and social



 117
     Exhibit C, Kang Decl. at 66.
 118
     Exhibit C, Kang Decl. at 25.
 119
     Exhibit C, Kang Decl. at 68.
 120
     Exhibit C, Kang Decl. at 67.
 121
     While racism was less overt by the 1980s, it was no less present: racial slurs were
 simply traded for racial stereotypes of Latinx immigrants as criminals and thugs, and
 legislative backlash to the increase in Latinx immigrants took the form of scapegoating
 them in the War on Drugs, the English only movements, and anti-birthright citizenship
 campaigns. Exhibit C, Kang Decl. at 35.
 122
     Exhibit C, Kang Decl. at 67.
 123
     Exhibit C, Kang Decl. at 67.
 124
     See Exhibit C, Kang Decl. at 68. The idea of “race suicide” has more recently been
 cast as the “Great Replacement Theory.” According to the Anti-Defamation League,
 over half of the extremist murders committed in the U.S. over the past decade were
 carried out by people espousing such white supremacist ideologies. See John Eligon,
 The El Paso Screed, and the Racist Doctrine Behind It, N.Y.T. (Aug. 7, 2019),
 https://nyti.ms/3p49FZ9.


                                          51 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 52 of 67




 services, and required government officials, including teachers and health care

 professionals, to report suspected undocumented immigrants, even children, to the

 state attorney general and the INS.125   126
                                                Capturing the popular mood, the headline on

 an April 1990 cover of Time magazine depicted an image of an American flag

 composed of black, brown, and yellow stripes—and asked, “What will the U.S. be like

 when whites are no longer the majority?”127

       At the same time, the War on Drugs and Tough on Crime movements were

 seizing the popular imagination. In 1985, what was termed the “crack epidemic” was the

 subject of a New York Times cover story and “the War on Drugs” was well on its way to

 the mainstream. In September 1989, George H. W. Bush announced an escalation of

 the War on Drugs, and by February 1990, polling showed that an overwhelming

 75 percent of Americans approved of his drug policy.128 The popular nativist sentiment

 brought to the forefront familiar racist tropes that painted immigrants as criminals, this

 time the unfounded129 belief that they were responsible for the drug trade (“Jamaican

 posses. Haitian crack syndicates.”) Anti-immigrant and Tough on Crime sentiment were

 so popular, they transcended party lines.




 125
     Exhibit C, Kang Decl. at 69.
 126
     Although the ballot initiative was California-specific, it was a reflection of national
 sentiment and influenced national politics because President Clinton, who was up for
 reelection in 1996, knew he would not be able to win without winning California. Voters
 in California had approved the initiative by a margin of 59 to 41. See, e.g., Exhibit C,
 Kang Decl. at 94-95.
 127
     Exhibit C, Kang Decl. at 66–67.
 128
      Morin, Richard, AMERICANS, COLOMBIANS DISAGREE OVER DRUG WAR,
 SURVEY             SHOWS,            N.Y.T.          (February           9,         1990),
 https://www.washingtonpost.com/archive/politics/1990/02/09/americans-colombians-
 disagree-overdrug-war-survey-shows/e0662b42-6d7b-4b68-814a-54131d40bc68/).
 129
     Exhibit C, Kang Decl. at 46-47.


                                          52 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 53 of 67




       At the same time, FAIR was coming to prominence. FAIR was founded by

 ophthalmologist and eugenicist John Tanton in 1979, with the specific aim of reducing

 non-white immigration to the United States.130 In 1988, Tanton “set off a storm of

 protests” when journalists released a 1986 memorandum meant for seminar attendees

 describing a “Latin onslaught” of immigrants and pondering such questions as: “What

 are the differences in educability between Hispanics (with their 50% dropout rate) and

 Asiatics (with their excellent school records and long tradition of scholarship)?”131 Word

 soon followed that FAIR received $1.2 million in grants from the Francis Walter-

 associated Pioneer Fund, the foundation that promoted theories of the genetic

 superiority of whites.132 As a result, FAIR lost the support of prominent members like

 Warren Buffett, and Tanton resigned from FAIR in 1988.133 An attorney named Dan

 Stein assumed leadership. Stein shares Tanton’s racist views and agenda; in 1994, he

 said in a public interview with Tanton that those who supported the 1965 INA, which

 eliminated the quota system, wanted to “retaliate against Anglo-Saxon dominance” and

 that this “revengism” against whites had created a policy that is causing “chaos and will

 continue to create chaos.”134 During a Congressional hearing on asylum seekers in



 130
     Exhibit C, Kang Decl. at 36.
 131
          Witan       Memo         III,     Southern        Poverty       Law      Center,
 https://www.splcenter.org/fightinghate/intelligence-report/2015/witan-memo-iii      (last
 accessed Jan. 21, 2022).
 132
       DeParle, Jason, The Anti-Immigration Crusader, N.Y.T. (Apr. 17, 2011),
 https://www.nytimes.com/2011/04/17/us/17immig.html.
 133
     Id.
 134
      Southern Poverty Law Center, “Federation for American Immigration Reform,”
 https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-
 immigrationreform, last accessed April 18, 2021. By 1994, Stein also expressed his anti-
 Haitian sentiments during a congressional hearing on Haitian asylum seekers. In an
 alarmist tone, he urged the exclusion of Haitian and Global South refugees, arguing that
 their admission would lead to the nation’s downfall. These migrants, Stein argued,


                                         53 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 54 of 67




 1994, he advocated for the exclusion of Latinx refugees, especially Haitians, arguing

 that their admission would lead to the nation’s downfall.135

        And yet, FAIR was enormously successful in maintaining a veneer of

 respectability, allowing it to continue to successfully promote its anti-immigrant agendas.

 Tanton “raised millions of dollars, groomed protégés and bequeathed institutions.”136 In

 2009, Dan Stein “boasted that FAIR leaders had testified before Congress about

 100 times.”137 By 1996, the chairs of both the Senate and House immigration

 subcommittees were members of FAIR’s advisory board.138

        2. Specific Sequence of Events Leading to the Challenged Action;
           Legislative History.

        i. Anti-Drug Abuse Act of 1988. The Anti-Drug Abuse Act was a legislative

 centerpiece of President Reagan’s War on Drugs.139 Senator Chiles of Florida, who

 collaborated with FAIR and briefed members of Congress on its behalf, was responsible

 for drafting the immigration provisions of the Anti-Drug Abuse Act.140 Florida in particular

 had seen a large influx of Latinx immigrants, largely from Haiti and Cuba, causing a

 particularly acute nativist reaction.141 For instance, “South Floridians’ anxieties about the



 would transplant to the United States the crises of their home countries – ecological
 disaster, civil and political unrest, economic collapse, anarchy, and war. Lindskoog,
 Detain and Punish, 132 (citing Haitian Asylum Seekers: Hearing before the
 Subcommittee on International Law, Immigration, and Refugees of the Committee on
 the Judiciary, House of Representatives, 103rd Congress, 2nd Session, on H.R. 3663,
 H.R. 4114, and H.R. 4264, June 15, 1994, 221-222, 233.).
 135
     Exhibit C, Kang Decl. 37, fn.126.
 136
     Id.
 137
     Exhibit C, Kang Decl. at 35-36.
 138
     Exhibit C, Kang Decl. at 82, see fn. 310.
 139
     Exhibit C, Kang Decl. at 44 n.155.
 140
     Exhibit C, Kang Decl. at 38.
 141
     “In 1980, “South Florida saw the sudden arrival of nearly 125,000 Cubans in a mass
 migration known as the Mariel boatlift. An initially warm welcome quickly grew hostile.”


                                           54 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 55 of 67




 new immigrants led them to initiate the nation’s first English-only movement…“Miami’s

 English only campaign was ‘a vehicle for the expression of mass native white resistance

 to Latinization’ and a ‘political project aimed at symbolically reestablishing Anglo

 dominance.’”142 The influx of Latinx immigrants also made them a perfect scapegoat for

 widespread and unfounded accusations that they were responsible for increases in

 crime, especially drug crime.143 Florida’s senators echoed their constituents’ nativist

 rationales and concerns during congressional hearings:

        Senators Hawkins and Chiles cited the problems, such as social tensions,
        health hazards, and increased crime in Florida resulting from the mass
        entries: There was discussion of the concentration of the Cubans and
        Haitians in a few geographic areas; particularly in Florida, and means of
        deterring the entries, including the Administration’s interdiction program
        and means to assure that we discourage future waves of mass illegal
        entries…144

        In 1985, Senator Chiles expressed concern that “[i]f we do not regain control of

 our borders ... I think that within ten years, we will not recognize the United States as

 the United States we see today.”145 He criticized the Supreme Court for “allowing the

 alien to have all the constitutional rights of a citizen.”146 And he co-sponsored legislation

 that aimed to reduce the admissions of refugees, rescind “special rights” afforded to



 Stephens, Alexander, Reagan’s war on drugs also waged war on immigrants,
 Washington                 Post             (Oct.                 27,              2021),
 https://www.washingtonpost.com/outlook/2021/10/27/reagans-war-drugs-also-waged-
 warimmigrants/).
 142
     Exhibit C, Kang Decl. at 32.
 143
      Exhibit C, Kang Decl. at 46; see also Aguirre, B. E., et al. “Marielitos Ten Years
 Later: The Scarface Legacy.” Social Science Quarterly, vol. 78, no. 2, [University of
 Texas Press, Wiley], 1997, pp. 487–507, http://www.jstor.org/stable/42864350.
 144
     Summary of Hearings Held by the Senate Judiciary Subcommittee on Immigration
 and Refugee Policy, July 1981-April 1982, https://files.eric.ed.gov/fulltext/ED244007.pdf
 at 17.
 145
     Exhibit C, Kang Decl. at 43.
 146
     Id.


                                           55 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 56 of 67




 undocumented immigrants, and allow the U.S. military to enforce immigration laws

 “beyond the territorial limits of the United States.”147 With the Anti-Drug Abuse Act,

 Senator Chiles drew immigrants into the ambit of the War on Drugs by establishing new

 criminal penalties for non-citizens convicted of drug offenses and engaging the INS in

 the work of drug control.148

        Appearing before the Senate Subcommittee on Immigration and Naturalization to

 explain the five bills, he falsely racially profiled Latinx immigrants:

        “A year ago when I introduced my package on alien felons, I found I had to
        describe these criminals. Today, I simply have to say: Jamaican posses.
        Haitian crack syndicates. [A]nd there is immediate recognition.”149

 He influenced other lawmakers by bringing law enforcement witnesses before Congress

 to testify, without statistical support, that Haitians bore responsibility for Florida’s drug

 trade.150 Senator Chiles’ focus on the threat of “criminal aliens” came despite the fact

 that, per the General Accounting Office, there was no objective basis for the belief that

 “alien involvement in crime is a serious problem.”151

        The provisions introduced by Senator Chiles added the concept of an

 “aggravated felony,” curtailed the procedural rights of noncitizens, and amended § 1326

 to add subsection (b), which simply enhanced penalties for “criminal aliens”—up to five

 years’ imprisonment for those with a prior felony conviction, and up to 15 years for those




 147
     Exhibit C, Kang Decl. at 39-41.
 148
     See Exhibit C, Kang Decl. at 44 n.155.
 149
     United States, Senate, Subcommittee on Immigration and Refugee Affairs of the
 Committee on the Judiciary, The Implementation of the Immigration Reform and Control
 Act, April 14, 1988, Serial No. J-100-60 (US GPO, 1989), 26.
 150
     Exhibit C, Kang Decl. at 46.
 151
     See Exhibit C, Kang Decl. at 46-47.


                                            56 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 57 of 67




 with a prior “aggravated felony” conviction.152 An ACLU Associate Director testified

 before the Senate that Senator Chiles’ proposals rest on illogical substantive

 conclusions that “misperceive the problem” and “may be counterproductive in terms of

 our immigration policy objectives,” noting in particular that “the problem presented by

 the failure to deport ‘illegal alien felons’” was down to “INS’ inability to adequately

 identify and apprehend persons subject to deportation”—and would not be helped by

 amending § 1326.153

       Despite this criticism, the Act passed, “creat[ing] the foundation for the ensuing

 amendments to the criminal penalty provisions of the nation’s immigration laws.”154

       ii. Immigration Act of 1990. The Immigration Act of 1990 amended § 1326 by

 authorizing greater fines,155 and the legislative history for this amendment is “very

 thin.”156 Senator Bob Graham of Florida sponsored the amendment, and Dr. Kang notes

 that Senator Graham “like the drafters of the [Anti-Drug Abuse Act], worked to yoke the

 nation’s immigration agencies in the work of criminal law enforcement, particularly to

 make use of these agencies’ broad legal authority to detain and expel unwanted

 migrants in the war on drugs.”157 In May 1988, Graham co-chaired the Senate

 committee hearing on “Haitian Narcotics Activities” although there was no statistical

 reason to believe that Haitians were as likely to commit crimes as white citizens.158 He



 152
     See Pub. L. 100-690, title VII § 7345(a), 102 Stat. 4471 (Nov. 18, 1988).
 153
     See Exhibit B at 46–47; Exhibit H (Hearing before the Subcommittee on Immigration
 and Refugee Affairs of the Committee on the Judiciary, U.S. Senate, Statement of
 Wade J. Henderson, April 14, 1988) at 38–40, 43.
 154
     Exhibit C, Kang Decl. at 52.
 155
     See Pub. L. 101-649, title V § 543(b)(3), 104 Stat. 5059 (Nov. 29, 1990).
 156
     Exhibit C, Kang Decl. at 51.
 157
     Exhibit C, Kang Decl. at 52.
 158
     Exhibit C, Kang Decl. at 51.


                                         57 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 58 of 67




 espoused the idea that because federal immigration enforcement was underfunded,

 “[a]ll too often, these nomadic criminals—who are involved in the drug trade—slip away

 from justice because they move faster than our immigration system.”159

        iii. Violent Crime Control and Law Enforcement Act of 1994 (“VCCLEA”). In

 1994, Congress passed the VCCLEA, a bill recognized as a “major driver of mass

 incarceration” of both citizens and noncitizens.160 The VCCLEA included an amendment

 to § 1326 increasing penalties and including those with misdemeanor convictions in the

 heightened penalty category.161 This amendment to § 1326 was authored by

 Representative Bill McCollum of Florida. Representing a deeply conservative and

 predominantly white district in central Florida, Representative McCollum dedicated his

 career to the reconfiguration of this country’s criminal and immigration laws.162 By 1993,

 he was the ranking member of both the House Subcommittee on Crime and the House

 Subcommittee on International Law, Immigration, and Refugees and as such, he

 exerted power over the tone and content in the debates on the many crime and

 immigration bills introduced on the floor of the House and even the Senate.163 His

 legislative agenda “reflected an aversion towards Latin American migrants,” and his

 “sustained attack on Latin American migration led many observers to criticize his

 immigration policy proposals for their racially discriminatory impacts and the racist ideas




 159
     Exhibit C, Kang Decl. at 53.
 160
     Exhibit C, Kang Decl. at 80.
 161
     Specifically, the VCCLEA increased the imprisonment time for those with a prior
 felony conviction from up to five years to up to 10 years and for those with a prior
 aggravated felony.
 162
     Exhibit C, Kang Decl. at 54.
 163
     Exhibit C, Kang Decl. at 74.


                                          58 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 59 of 67




 that informed them.”164 He co-sponsored and endorsed measures drafted by FAIR, and

 he spoke at a FAIR-sponsored Congressional briefing.165 He sought to end challenges

 to deportation orders, curtail the rights of asylum seekers (he claimed up to half of the

 entire population of Mexico would come to the United States if allowed), and enhance

 penalties for unlawful entry and reentry.166 He co-sponsored resolutions to amend the

 Constitution to deny birthright citizenship to the children of undocumented immigrants

 and to make English the official language of the United States.167 Although Rep.

 McCollum was a deeply conservative lawmaker, his (and FAIR’s) arguments often

 reached across the aisle.

       Even senators who are considered today to be liberal were swept up in the

 xenophobic tenor of the day and convinced by anti-immigrant interest groups that

 expelling immigrants and closing the border was for the good of society. At the time the

 VCCLEA was making its way through Congress, Senator Harry Reid of Nevada

 proposed an amendment to § 1326 that would have barred any noncitizen from

 “challeng[ing] the validity of the deportation order.”168 (Senator Reid’s proposed

 amendment would have also revoked birthright citizenship for children born to




 164
     Exhibit C, Kang Decl. at 56.
 165
     Exhibit C, Kang Decl. at 57-58.
 166
     Exhibit C, Kang Decl. at 55-56, 58.
 167
     Exhibit C, Kang Decl. at 58, 60.
 168
     Exhibit C, Kang Decl. at 78-79. This was six years after the Supreme Court had held
 that, if § 1326 “envisions that a court may impose a criminal penalty for reentry after any
 deportation, regardless of how violative of the rights of the alien the deportation
 proceeding may have been, the statute does not comport with the constitutional
 requirement of due process.” U.S. v. Mendoza-Lopez, 481 U.S. 828, 837 (1987).


                                          59 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 60 of 67




 undocumented immigrants.).169 Senator Reid later apologized for his proposed

 amendment, calling it “the biggest mistake I ever made,” and blaming interest groups

 that had “convinced us that the thing to do would be to close the borders between

 Mexico and the United States; in effect, stop people from coming across our borders to

 the United States.”170

        Reid’s proposed bar on challenging the validity of removal orders in § 1326

 prosecutions did not become part of the VCCLEA, but it demonstrates how McCollum’s

 amendment to § 1326 and the VCCLEA gained sufficient bipartisan support to pass.

        iv. Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”). Two

 months after the passage of the VCCLEA, the Republican Party took control of

 Congress for the first time in 40 years and supplanted Democrats from the chairs of the

 Senate and House immigration committees.171 The new committee chairs were both on

 the advisory board of FAIR. Because McCollum ultimately voted against the VCCLEA

 because he believed the VCCLEA had “not gone far enough,” he seized the opportunity

 to introduce a bill to limit collateral attacks on removal orders in § 1326 prosecutions.172

 The Supreme Court had previously held that non-citizens have a constitutional right to

 collaterally attack their predicate removal order in a § 1326 prosecution. United States



 169
     Exhibit C, Kang Decl. at 79. In a September 3, 1993 floor speech, Sen. “Reid also
 declared that ‘no sane country’ would confer birthright citizenship to out-of-status
 parents.”
 170
     Exhibit C, Kang Decl. at 79.
 171
     Exhibit C, Kang Decl. at 82, see also Kang Decl. 82 fn. 310. “Senator Alan Simpson
 (R-WY) replaced Sen. Kennedy as chair; in the House, Rep. Lamar Smith (R-Tex.)
 supplanted Rep. Romano Mazzoli (D-KY). Both members of FAIR’s National Advisory
 Board, Simpson and Smith “envisioned a fresh round of restrictive immigration reform to
 limit legal admissions, to make immigrants ineligible for welfare benefits, and to finally
 curb illegal immigration.”
 172
     Exhibit C, Kang Decl. at 83.


                                          60 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 61 of 67




 v. Mendoza-Lopez, 481 U.S. 828 (1987). Section 1326(d) cabined that right by adding

 requirements of judicial and administrative exhaustion found nowhere in the Supreme

 Court’s decision. Two other amendments increasing penalties to § 1326 were authored

 by Representative Mark Foley of North Carolina, who had previously introduced a

 constitutional amendment to deny birthright citizenship to the children of undocumented

 immigrants.173 All of those amendments became part of AEDPA, which was passed into

 law in 1996.174

        It’s important to understand AEDPA in its historical context. In October 1994—

 one month before the midterm elections—President Clinton faced pressure to take

 further action against border crossings and launched Operation Gatekeeper.175 This

 operation placed hundreds of federal officers on the border as a “visible show of force,”

 with the predictable result that migrants altered their routes and attempted dangerous

 journeys through the inhospitable desert, transforming the Arizona borderlands into a

 “killing field.”176 Despite President Clinton’s efforts, the Republicans took control of the

 House in January 1995. FAIR was elated and began promoting its immigration agenda

 aggressively.177 As the head of FAIR put it, “We expected to see the tightening up of the

 whole deportation process, eliminating needless appeals, presumption in favor of




 173
     Exhibit C, Kang Decl. at 60, 84. These amendments established penalties for
 individuals who reenter after being excluded under § 1225(c) and mandated
 incarceration for individuals who reenter after being deported by judicial order. See
 8 U.S.C. §1326(b)(3), (c).
 174
     See Pub. L. 104-132, title IV §§ 401(c), 438(b), 441(a), 110 Stat. 1267-68, 1276,
 1279 (Apr. 24, 1996).
 175
     Exhibit C, Kang Decl. at 81.
 176
     Exhibit C, Kang Decl. at 81.
 177
     Exhibit C, Kang Decl. at 90.


                                          61 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 62 of 67




 detention, curtailing of asylum, and summary exclusion at the border.”178 FAIR got what

 it expected. In June 1995, Speaker Newt Gingrich’s Task Force on Immigration Reform

 proposed dramatic increases in “resources to prosecute deported felons who illegally

 re-enter”—along with streamlined deportation proceedings, mandatory prosecution of

 certain non-citizens, an end to birthright citizenship for the children of undocumented

 immigrants, and the denial of public benefits (including public education) to

 undocumented immigrants.179

        When Congress took up debate on AEDPA, “both Democrats and Republicans

 strove to win the votes of [the] anti-immigrant electorate in anticipation of the

 1996 elections.”180 Representative Gerald Solomon of New York made racist complaints

 about the number of children born to undocumented immigrants.181 Representative

 Lamar Smith of Texas urged passage of the bill by stressing that it would cut down on

 challenges to deportation orders.182 And Representative McCollum explained the

 amendment to § 1326 would limit challenges to predicate removal orders.183 Congress

 passed AEDPA, and President Clinton signed it into law. Along with the aforementioned

 amendments to § 1326, AEDPA expanded the offenses considered aggravated

 felonies, eliminated long-term residency as a defense to deportation, expanded the pool

 of undocumented immigrants who could be deported expeditiously, and authorized

 wiretap authority for immigrant-smuggling investigations.184 Three years later, even



 178
     Exhibit C, Kang Decl. at 90.
 179
     Exhibit C, Kang Decl. at 82, fn. 312.
 180
     Exhibit C, Kang Decl. at 88.
 181
     Exhibit C, Kang Decl. at 87.
 182
     Exhibit C, Kang Decl. at 84.
 183
     Exhibit C, Kang Decl. at 84.
 184
     Exhibit C, Kang Decl. at 83-84.


                                             62 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 63 of 67




 Representative McCollum would concede AEDPA “went too far.”185 As he put it, “We

 are a just and fair nation and must strike a just and fair balance in our immigration

 laws.”186 Representative McCollum gave two examples of noncitizens treated unfairly by

 the law. Tellingly, neither were Latinx: one was Bob, a Scotsman deported for a dated

 crime; the other was Robert A. Broley, the son of the Republican Party treasurer in

 Orange County, Florida, who was convicted on felony fraud charges and deported to

 Canada.187

        v. Illegal Immigration Reform and Immigrant Responsibility Act of 1996

 (“IRIRA”). Later in 1996, Representative Lamar Smith of Texas (a member of FAIR’s

 National Advisory Board and the chairman of the Immigration Subcommittee of the

 House Judiciary Committee) introduced IIRIRA, also known as “The Mexican

 Exclusionary Act.”188 Representative Smith argued “there exists an inchoate sense

 among the American people that our culture is changed by immigration”—and promised

 IIRIRA would correct laws that viewed “immigration as a form of ‘civil right’ that is owed

 to an unspecified portion of the world’s population without regard to objective criteria of

 selection based in the national interest.”189 It was widely understood that Cordelia

 Strom, formerly of the Immigration Reform Law Institute (FAIR’s litigation arm), drafted

 the bill for Representative Smith.190 In fact, many considered that “Lamar Smith, in

 effect, turned the congressional immigration subcommittee over to FAIR.”191



 185
     Exhibit C, Kang Decl. at 89.
 186
     Exhibit C, Kang Decl. at 89.
 187
     Exhibit C, Kang Decl. at 90, fn. 388.
 188
     Exhibit C, Kang Decl. at 90, fn. 310, 91.
 189
     Exhibit C, Kang Decl. at 91.
 190
     Exhibit C, Kang Decl. at 90-91.
 191
     Exhibit C, Kang Decl. at 91.


                                           63 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 64 of 67




       IIRIRA amended § 1326 by broadening its scope to include those removed (as

 opposed to deported), and authorizing up to 10 years’ imprisonment for non-citizens

 who reenter after being removed while on parole, supervised release, or probation for a

 nonviolent offense.192 In addition to these amendments, IIRIRA eliminated family

 reunification visas for siblings and adult children, capped humanitarian admissions,

 limited asylum claims, expanded the definition of an aggravated felony, and expedited

 the removal of so-called “criminal aliens.”193 Opponents of IIRIRA drew attention to the

 racial animus underlying the bill. Representative Xavier Becerra of California pointed out

 the substantive irregularity that the bill targeted border-crossers when the majority of

 undocumented persons in the United States were actually visa overstays.194

 Representative Jerrold Nadler of New York argued the bill’s “mindless cruelty” and its

 “good old-fashioned Xenophobia” had “nothing to do with legitimate protection of our

 borders.”195 But, as Dr. Kang notes, “the pressure to appear tough on undocumented

 immigration was particularly acute given that 1996 was an election year,” and the bill

 was passed into law.196 IIRIRA had its intended effect. Following its passage,

 deportations from the United States jumped precipitously—massively increasing the

 pool of individuals who could be charged with violations of § 1326 should they return.197

 It is no coincidence that criminal immigration proceedings then jumped tenfold.198



 192
      See Pub. L. 104-208, div. C title III §§ 305(b), 308(d)(4)(J), 308(e)(1)(K),
 308(e)(14)(A), 324(a), 324(b); 110 Stat. 3009-606, 3009-618 to 3009-620, 3009-629
 (Sept. 30, 1996).
 193
     Exhibit C, Kang Decl. at 92.
 194
     Exhibit C, Kang Decl. at 93.
 195
     Exhibit C, Kang Decl. at 92.
 196
     Exhibit C, Kang Decl. at 94-95.
 197
     In 1994, there were just over 50,000 removals. In just two years, that number had
 more than doubled. By 2019 (the latest year with records), there were nearly 360,000


                                         64 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 65 of 67




        These amendments, which were purposefully designed to enhance, not mitigate,

 the visibly disparate impact of § 1326, were continuations of the chain of discriminatory

 causation begun in 1929. Instead, they came about from another wave of nativism,

 enacted by Congress members on both sides of the aisle, either succumbing to popular

 sentiment themselves, or putting aside their own morals to enforce the will of their

 constituents. Accordingly, the government cannot meet its burden to show that the law

 would have been enacted without the motivating factor of racial discrimination.

 III.   CONCLUSION

        The racist history of § 1326 is, at bottom, the history of countless individual Latinx

 lives ruined, and degraded, by application of this unjust law. Nationwide, one-third of the

 federal docket is § 1326 prosecutions. Each year, there are thousands and thousands

 of initial appearances, arraignments, detention hearings, changes of plea, and

 sentencings for impoverished Latinxs encouraged to come to work this country’s fields,

 only to be locked up for daring to cross the border. Meanwhile, Anglo employers cast

 cursory glances at undocumented Latinx laborers’ papers, knowing there is no realistic

 threat of the government cracking down on their unlawful hiring practices. Doing so

 would disturb the nearly century-old arrangement: a steady supply of exploitable Latinx

 labor for Anglo profit, but with criminal laws on the books to punish and drive out the

 “mongrels” and “criminals” when needed. These are criminal laws that have become

 only more draconian with each wave of nativism.




 removals. Dep’t of Homeland Sec., Aliens Removed or Returned: Fiscal Years 1892 to
 2019 (2009), https://bit.ly/3Eb0Sci.
 198
     Exhibit C, Kang Decl. at 96.


                                           65 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 66 of 67




       The    Constitution   demands    that   courts   examine    criminal   statutes   for

 discriminatory intent and disparate impact in order to ensure equal protection under the

 law. One cannot uncouple § 1326’s history from the history of anti-Latinx racism in the

 United States. But joining Judge Du in recognizing that § 1326 offends the Constitution

 would acknowledge that sordid history and allow the country to begin to address it.

       Accordingly, Mr. Duron-De Luna respectfully requests that this Court find that

 § 1326 violates the Fifth Amendment’s equal protection guarantee and dismiss the

 indictment against him.

                                         Respectfully submitted,

                                         VIRGINIA L. GRADY
                                         Federal Public Defender


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                                         66 of 67
Case 1:22-cr-00018-RMR Document 25 Filed 06/15/22 USDC Colorado Page 67 of 67




                              CERTIFICATE OF SERVICE

      I certify that on June 15, 2022, I electronically filed the foregoing Oscar
 Duron-De Luna’s Motion to Dismiss the Indictment with the Clerk of Court using the
 CM/ECF system which will send notification of such filing to the following email address:

       Albert Buchman, AUSA
       Email: al.buchman@usdoj.gov

 and I will mail or serve the document or paper to the following non-CM/ECF participant
 in the manner indicated:

       Oscar Duron-De Luna via U.S. Mail



                                          /s/ Matthew K. Belcher
                                          MATTHEW K. BELCHER
                                          Assistant Federal Public Defender




                                         67 of 67
